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  7   Debtor and Debtor in Possession

  8
                            UNITED STATES BANKRUPTCY COURT
  9                          CENTRAL DISTRICT OF CALIFORNIA
                                  LOS ANGELES DIVISION
10
      In re:                                          )   Case No.: 2:22-bk-10266-BB
11                                                    )
      ESCADA AMERICA LLC,                             )   Chapter 11 Case
12                                                    )   Subchapter V
13             Debtor and Debtor in Possession.       )
                                                      )   MASTER STATEMENT OF FACTS
                                                      )   AND DECLARATION OF KEVIN
14                                                        WALSH    IN    SUPPORT    OF
                                                      )   EMERGENCY FIRST DAY MOTIONS
15                                                    )
                                                      )   Hearing:
16                                                    )   Date: January 20, 2022
17                                                    )   Time: 10:00 a.m.
                                                      )   Place: Courtroom 1539
18                                                    )          255 East Temple Street
                                                      )          Los Angeles, CA 90012
19                                                    )
                                                      )   Hearing to be held in-person and by video-
20                                                    )   conference Government Zoom, see Court’s
21                                                    )   website under “Telephonic Instructions” for
                                                      )   more details:
22                                                    )   https://www.cacb.uscourts.gov/judges/honor
                                                      )   able-sheri-bluebond
23                                                    )
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  1                               MASTER STATEMENT OF FACTS

  2         I.      GENERAL FACTUAL BACKGROUND

  3          A.     General Background

  4          1.     Escada America LLC, a Delaware limited liability company, (the “Debtor”)

  5   commenced its bankruptcy case by filing a voluntary petition under chapter 11 of title 11,

  6   sections 101 et seq. of the United States Code (the “Bankruptcy Code”) on January 18, 2022,

  7   (the “Petition Date”). The Debtor elected subchapter V on its bankruptcy petition and is a small

  8   business debtor as defined by 11 U.S.C. § 1182(1).

  9          2.     The United States Trustee (the “UST”) appointed a subchapter V trustee (the

10    “Trustee”) pursuant to 11 U.S.C. § 1183(a).

11           3.     The Debtor continues to manage its financial affairs, operate its business, and

12    administer its bankruptcy estate as a debtor in possession pursuant to sections 1182(2) and 1184

13    of the Bankruptcy Code.

14           4.     The Debtor was formed as a Delaware limited liability company in 2009.

15           5.     The Debtor is a national specialty retailer selling high-end, ready-to-wear

16    women’s apparel with its main office in Beverly Hills, California, ten (10) retail stores across

17    seven (7) states in the United States, an office New York City, New York, and over 50 fulltime

18    employees. The Debtor’s retail business is generally known to the public and branded as

19    “Escada.” The Debtor uses the “Escada” brand via a license agreement and does not own any

20    intellectual property rights in connection with the “Escada” brand.

21           6.     For several decades, Escada had been a global retail brand for high-fashion, high-

22    end, ready-to-wear apparel for women, with an emphasis on high-fashion evening wear.

23           7.     On a global scale, Escada has various retail stores and subsidiaries in several

24    countries in Europe, including but not limited to Spain, England and Germany. Escada also has

25    retail stores in North America, including the Debtor, which operates Escada’s brick-and-mortar

26    retail business only in the United States.
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  1          8.     Historically, Escada (under its prior ownership and prior management) had run its

  2   affairs in an unprofitable manner: (1) over-aggressive expansion into new, untested, and/or

  3   unprofitable markets and store locations; (2) overpriced commercial retail leases; (3) expensive

  4   management overhead and poor leadership; and (4) failure to update the brand so as to keep it

  5   relevant with changing tastes and generational shifts.

  6          9.     By 2019, the Escada business on a global scale was in deep distress and could not

  7   continue. At that time, the Debtor, together with other subsidiaries of Escada’s then-parent

  8   company, was acquired by new ownership (which is now the current ownership and

  9   management).

10           10.    At the time of the acquisition of Debtor in 2019, Escada had 29 subsidiaries in 22

11    countries, all of which were financially distressed.

12           11.    In December 2019, the Debtor devised and began implementation of a plan to turn

13    around the United States Escada retail business. Debtor believed that the business could be

14    operated at a profit if fundamental business-model changes were implemented, such as

15    overhauling the Debtor’s technological suite and reducing speed to market by shifting supply

16    chains from Asia to Europe. Debtor’s turnaround plan was also contingent upon Debtor’s ability

17    to sell product at Debtor’s physical locations because ecommerce sales were minimal.

18           12.    However, what was not – and could not be – known at the time of the acquisition

19    in November 2019, was that an unprecedented, global, catastrophic, and life-changing event

20    with severe economic consequences was on the immediate horizon – the Covid-19 pandemic.

21          B.      Covid-19 and Events Leading to the Debtor’s Bankruptcy Filing

22           13.    In December 2019, just one month after the acquisition and just as the Debtor’s

23    transformation plan was being put into effect, the novel corona virus, known to us now as Covid-

24    19, was quietly spreading in certain regions of Asia, unbeknownst to the rest of the world.

25           14.    From December 2019 through February 2020, the Debtor prepared to implement

26    a number of business-model and operational changes with the goal of making the United States
27

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  1   Escada retail business profitable and correct the mistakes of its prior management and prior

  2   owners.

  3          15.    However, in March 2020, the world drastically changed, and set the Debtor on

  4   course for this current bankruptcy filing.

  5          16.    On or about March 15, 2020, the City of Los Angeles declared a state of

  6   emergency with shelter in place orders. In the following days, many business and financial

  7   centers across the United States came to a near total standstill as the nation was gripped by the

  8   Covid-19 crisis.

  9          17.    The Debtor invites the Court’s attention to this news article from USA Today

10    summarizing when thirty-eight states issued various shelter-at-home orders due to the Covid-19

11    pandemic between March 19, 2020, and April 1, 2020:

12     https://www.usatoday.com/story/news/nation/2020/03/30/coronavirus-stay-home-shelter-in-

13    place-orders-by-state/5092413002/

14           The same information is generally summarized in the table below for ease of reference:

15    3/19/20      California              3/23/20    Indiana                  3/28/20    Kansas
      3/20/20      New York                3/23/20    Michigan                 3/28/20    Rhode Island
16    3/20/20      Oregon                  3/24/20    Delaware                 3/30/20    Tennessee
      3/20/20      Illinois                3/24/20    Wisconsin                3/30/20    Arizona
17
      3/21/20      New Jersey              3/25/20    Colorado                 3/30/20    Kentucky
18    3/22/20      Connecticut             3/25/20    Idaho                    3/30/20    Maryland
      3/22/20      Louisiana               3/25/20    Kentucky                 3/31/20    Maine
19    3/23/20      Massachusetts           3/25/20    Minnesota                3/31/20    Texas
      3/23/20      Ohio                    3/25/20    Vermont                  4/1/20     Florida
20    3/23/20      Pennsylvania            3/26/20    Montana                  4/1/20     Georgia
21    3/23/20      West Virginia           3/27/20    North Carolina           4/1/20     Mississippi
      3/23/20      Washington              3/27/20    Alaska                   4/1/20     Nevada
22    3/23/20      Hawaii                  3/27/20    New Hampshire
23

24           18.    In the span of just 12 days, all fifteen (15) of the Debtor’s then-active stores in

25    eight (8) States were shuttered due to lockdown restrictions.

26           19.    Due to rising concerns about Covid-19 in February 2020 before the lockdowns,

27    the U.S. stock market had plummeted, with the Dow Jones Industrial Average dropping from a

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  1   high of nearly 30,000 to near 20,000 points, having a significant impact on general consumer

  2   behavior and sales in the luxury retail fashion industry.

  3          20.    In late March 2020, the United States federal government responded with historic

  4   economic aid, passing the CARES Act and providing approximately $3 trillion of stimulus to

  5   the economy, which may have bolstered the stock market’s recovery, but such economic

  6   stimulus did nothing to help retail businesses such as the Debtor, which rely on foot traffic from

  7   customer shopping in stores to generate sales. Unfortunately, the Debtor was not eligible for

  8   any of these stimulus payments and was left with no support during these unprecedented times.

  9   In addition, as long as the pandemic lockdowns continued and stores remained closed, or

10    shoppers refrained from shopping due to deep concerns about their health and safety, the Covid-

11    19 recession for retail businesses would continue.

12           21.    For the past 21 months from March 2020 to December 2021, the Debtor reduced

13    its overhead expenses by an estimated $13,383,037.40 and entered into negotiations with its

14    commercial landlords for rent relief at all store locations.

15           22.    Nonetheless, the past 21 months have been a marked state of tremendous

16    uncertainty for the world’s health and economic affairs brought on by an unprecedented

17    pandemic, followed by an unprecedented recession, then unprecedented trillions of dollars of

18    government aid, none of which has prevented the ongoing uncertainty posed by Covid-19

19    variants and the attendant on-again-off-again lockdowns across the nation and around the world,

20    all of which makes business in the current economic environment very difficult.

21           23.    Some commercial landlords have been reasonable, and the Debtor has negotiated

22    many workouts with its various landlords during 2020 and 2021. However, there remain

23    multiple landlords that have remained obstinate, and the end of the government’s Covid-19 anti-

24    eviction and anti-foreclosure protections are for many landlords a herald’s call to commence

25    lawsuits and eviction. It is because of the consequences of the Covid-19 pandemic that Debtor

26    has been forced to file bankruptcy to restructure its business affairs.
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  1           24.   The Debtor was able to reach deals with landlords for three (3) of the then-fifteen

  2   (15) store locations.

  3           25.   Of the remaining twelve (12) stores where deals had not yet been reached,

  4   negotiations are ongoing with landlords for three (3) of these locations, while landlords for the

  5   other nine (9) stores did not offer any concessions.

  6           26.   The Debtor cannot survive ongoing litigation with these landlords and the

  7   attendant litigation costs and potential liability for breach of those leases.

  8           27.   Accordingly, the Debtor determined in its reasonable business judgment that it

  9   was in the best interest of its estate to file this current bankruptcy case to preserve the going-

10    concern value of its business and save the jobs of its employees.

11            28.   The Debtor intends to propose a subchapter V plan in good faith to reorganize its

12    financial affairs, repay its creditors, and avoid a senseless and unnecessary liquidation.

13          C.      Secured Creditors

14            29.   The Debtor has three secured creditors (each a “Secured Creditor” and

15    collectively, the “Secured Creditors”).

16            30.   Eden Roc International, LLC (“Eden Roc”) has a first-position security interest

17    perfected by the filing of a UCC-1 on substantially all the Debtor’s assets and a secured debt of

18    approximately $579,025.32.

19            31.   Mega International, LLC (“Mega”) has a second-position security interest

20    perfected by the filing of a UCC-1 on substantially all the Debtor’s assets and a secured debt of

21    approximately $1,506,953.

22            32.   Escada Sourcing and Production, LLC (“ESP”) is a true consignor, and

23    substantially all of the Debtor’s inventory is owned by ESP via a consignment agreement

24    between the parties. ESP recorded a UCC-1 to give the world notice of its consignment. The

25    Debtor and Secured Parties contend that ESP is a true consignor. However, for the purpose of

26    use of cash collateral, to the extent that ESP might be considered a secured creditor with an
27    interest in cash collateral, ESP consents to the use of cash collateral set forth in the Budget.

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  1           33.   As set forth in the UCC report from the State of Delaware attached as Exhibit 7

  2   to the Declaration of John-Patrick M. Fritz, Esq. (the “Fritz Declaration”) the following UCC-1

  3   liens have been recorded against the Debtor as of the Petition Date.

  4           34.    A UCC-1 financing statement (filing number 2020 4572691) filed on July 2,

  5   2020, for secured party Eden Roc, providing notice of a blanket lien against substantially all of

  6   the Debtor’s property.

  7           35.   A UCC-1 financing statement (filing number 2020 4572923) filed on July 2, 2020,

  8   for secured party Mega, providing notice of a blanket lien against substantially all of the

  9   Debtor’s property.

10            36.   A UCC-1 financing statement (filing number 2021 1151423) filed on February

11    11, 2021, for secured party ESP, providing notice of the consignment and a lien on all inventory.

12            37.   A UCC-1 financing statement (filing number 2021 1151456) filed on February

13    11, 2021, for secured party Mega, providing notice of a blanket lien against substantially all of

14    the Debtor’s property.

15          II.     CASH COLLATERAL USE

16            38.   The Debtor requires the use of cash collateral to maintain and operate its business

17    and preserve its going concern value by paying ordinary and necessary expenses, as set forth in

18    the Budget through April 22, 2022. The payment of the expenses reflected in the Budget are

19    necessary to avoid immediate and irreparable harm, and they are in in the best interest of the estate.

20    A true and correct copy of the Budget is attached as Exhibit 1 hereto.

21            39.   The Debtor’s Secured Creditors have consented to the Debtor’s use of cash

22    collateral as set forth in the Budget.

23            40.   No pre-petition debt service payments will be made to Secured Creditors, but a

24    payment for post-petition inventory may be paid, at a discount, to ESP in or around April 2022

25    (the Budget ends the week of April 15, 2022).

26            41.   Pursuant to Rules 4001(b) and 4001(c)(1)(B) of the Federal Rules of Bankruptcy
27    Procedure (“Bankruptcy Rules”) and Local Bankruptcy Rule 4001-2(b) and (d), the Debtor

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  1   submits that the relief requested by the Debtor pertaining to the use of cash collateral does not

  2   contain any of the following provisions, except as otherwise indicated below:

  3
      Provision                                                                    Cash Coll.
  4   Cross-collateralization clauses                                              No
  5   Provisions or findings of fact that bind the estate or all parties in interest No
      with respect to the validity, perfection or amount of the secured party’s
  6   pre-petition lien or debt or the waiver of claims against the secured
      creditor.
  7
      Provisions or findings of fact that bind the estate or all parties in interest No
  8   with respect to the relative priorities of the secured party’s pre-petition
      lien.
  9

10    Provisions that operate, as a practical matter, to divest the Debtor of any No
      discretion in the formulation of a plan or administration of the estate or
11    to limit access to the court to seek any relief under other applicable
      provision of law.
12
      Waivers of 11 U.S.C. § 506(c), unless the waiver is effective only           No
13    during the period in which the Debtor is authorized to use cash
      collateral or borrow funds.
14
      Releases of liability for the creditor’s alleged prepetition torts or        No
15    breaches of Contract.

16    Waivers of avoidance actions arising under the Bankruptcy Code.              No
17    Provisions that deem prepetition secured debt to be postpetition debt or     No
      that use postpetition loans from a prepetition secured creditor to pay
18    part or all of that secured creditor’s prepetition debt
19    Provisions that prime any secured lien                                       No
20    Automatic relief from the automatic stay upon default, conversion to         No
      chapter 7, or appointment of a trustee.
21
      Waivers of procedural requirements, including those for foreclosure          No
22    mandated under applicable non-bankruptcy law, and for perfection of
      replacement liens.
23
      Adequate protection provisions which create liens on claims for relief       No
24    arising under 11 U.S.C. §§ 506(c), 544, 545, 547, 548 and 549.
25    Waivers, effective on default or expiration, of the Debtor’s right to        No
      move for a court order pursuant to 11 U.S.C. § 363(c)(2)(B) authorizing
26    the use of cash collateral in the absence of the secured party’s consent
27    Provisions that grant a lien in an amount in excess of the dollar amount     No
28


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  1   of cash collateral authorized under the applicable cash collateral order.
  2   Provisions providing for the paying down of prepetition principal owed      No
      to a creditor.
  3
      Findings of fact on matters extraneous to the approval process.             No
  4

  5
             42.    The Debtor requires a waiver of the 14-day stay provided for under Bankruptcy
  6
      Rule 6004 because the Debtor needs to use cash collateral as soon as possible to maintain the
  7
      Debtor’s business as a going concern for the benefit of the Debtor’s estate. The Debtor requests
  8
      that any applicable stay, including the stay provided under Bankruptcy Rule 6004, be waived to
  9
      allow Order on this Motion to become immediately effective. Immediate use of cash collateral is
10
      necessary to avoid immediate and irreparable harm, as the Budget’s expenses are for immediate
11
      necessary expenses, such as payroll, insurance, rent, and utilities, all of which are needed to
12
      preserve the value of ongoing operations.
13
            III.    PREPETITION WAGES AND PREPETITION PAYROLL
14
             43.    The Debtor employs approximately 58 employees (collectively referred to herein as
15
      “employees”).
16
             44.    Employee travel and business expenses are submitted weekly and repaid in arrears
17
      after review and approval.
18
             45.    The Debtor makes matching contributions to employees’ 401k retirement plans. If
19
      an eligible employee contributes up to 100% of his or her compensation as a pre-tax deferral, the
20
      Debtor makes a matching contribution of 50%, limited to $1,000 of compensation each year.
21
             46.    The Debtor provides full-time employees with comprehensive benefits, paid time
22
      off, holidays, savings account options, 401k retirement plan, and commuter benefits. The Debtor
23
      provides employees with flexible spending accounts for up to $2,750 annually in covered health
24
      care costs and up to $5,000 for reimbursement for dependent care. The Debtor provides
25
      employees with up to $270 per month in parking or transit benefits. The Debtor provides
26
      employees with basic life insurance and accidental death and dismemberment insurance equal to
27

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  1   one-times the employee’s annual salary up to a maximum of $200,000; life insurance premiums

  2   in excess of $50,000 is considered income to the employee. The Debtor also provides employees

  3   with short-term and long-term disability insurance.

  4          47.    Payroll is paid through the third-party ADP, which makes deductions for any

  5   applicable workers compensation contributions, medical benefit contributions, federal and state

  6   withholding taxes, and payroll taxes.

  7          48.    The Debtor has two payrolls: RW6, paid 24 times in one year in approximately 14-

  8   or 15-day intervals; and RW7, paid 26 times in one year in approximately 14-day intervals. The

  9   next payroll for RW6 is due on January 28, 2022, and will include a prepetition stub period of

10    1/15/2022 to 1/18/2022; and the next payroll for RW7 is due on January 21, 2022, and will include

11    a prepetition stub period of 1/8/2022 to 1/18/2022 (the “Prepetition Payroll”). The amounts for

12    the Prepetition Payroll are within the limits of § 507(a)(4) of $13,650 per employee.

13           49.    Exhibit 2 to the Declaration is an example of the three recent payrolls1 for RW6

14    and RW7, which summarizes the employees and independent contractors, the total amount of the

15    typical payroll, demonstrating that the Prepetition Payroll is well within the limits of § 507(a)(4)

16    of $13,650 per employee. Out of respect for personal privacy, the exhibit does not show the

17    employees’ names, but a version with employees’ names is available on a confidential basis to the

18    U.S. Trustee and Trustee upon request. The exhibit shows the amounts allocated for healthcare,

19    taxes, workers comp, and federal and state unemployment, etc. None of the employees to paid

20    Prepetition Payroll are insiders. The exhibit is an estimate and approximation of what will be paid

21    in the forthcoming payrolls (which have not yet been generated), and the past three payrolls have

22    been summarized below here for ease of reference:

23    ///

24    ///

25

26    1
       RW6 has four employees, and RW7 has approximately 50 employees, but Exhibit 2 shows
      12 lines of data for RW6 and shows more than 150 lines of data for RW7 because three
27    payrolls for each are being shown, i.e. for RW6, the same 4 employees over three payrolls,
      and for RW7, the same approximately 50 employees over three payrolls.
28


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  1           RW6

  2    Pay Date             Payroll              # of Employees
  3    12/15/2021           $27,603.67           4
  4    12/30/2021           $24,714.24           4
  5    1/14/2022            $22,116.43           4
  6           RW7
  7    Pay Date             Payroll              # of Employees
  8    12/10/2021           $102,103.04          50
  9    12/23/2021           $133,100.42          50
10     1/7/2022             $101,106.63          50
11

12            50.   All of the employees to which the Debtor seeks to pay Prepetition Payroll for the
13    prepetition period are still employed by the Debtor (a small number of employees may be
14    terminated due to store closings, but their claims are within the statutory limit and must be paid in
15    full, therefore for the sake of administrative convenience, the Debtor seeks to pay them at this
16    time). The Debtor submits that approval to honor the Prepetition Payroll for the Prepetition Period,
17    including all federal and state withholding taxes, payroll taxes, employer matching 401(k)
18    contributions, and payroll service fees, will not render the estate administratively insolvent (as
19    demonstrated by the cash collateral budget). The Debtor’s employees are integral to the Debtor’s
20    continued operation and the generation of revenue, while preserving the value of the estate. In
21    short, the Debtor cannot continue to operate and reorganize without the employees. If the Debtor
22    does not continue to pay its employees their ordinary and earned wages, salaries, commissions,
23    and bonuses, the employees will likely quit. Without employees, the Debtor’s operations and the
24    value of its business will be severely impaired, if not eviscerated altogether. The source of the
25    funds to be used to honor and pay the Prepetition Payroll is the Debtor’s cash, which is the cash
26    collateral of secured creditors. The Debtor has submitted a budget and motion for court authority
27    to use cash collateral to pay the Prepetition Payroll.
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  1                                              IV.     UTILITIES

  2          51.    To operate its business, the Debtor receives water, gas, electricity, sewer, garbage

  3   telephone, internet, and similar utility services from a number of utility companies (each a “Utility

  4   Company,” and collectively, the “Utility Companies”). Given the importance of the services

  5   provided by the Utility Companies to the Debtor’s business, it is crucial that the means of

  6   providing adequate assurance to the Utility Companies which provide utility services to the Debtor

  7   be determined so that there is no interruption in the services provided.

  8          52.    Prior to the commencement of the Debtor’s bankruptcy case, the Utility Companies

  9   listed in Exhibit 3 to the Declaration provided utility services to the Debtor. The Debtor intends

10    to provide adequate “assurance of payment” by providing each of the Utility Companies listed in

11    Exhibit 3 with a cash deposit, as authorized by Section 366(c)(1)(A)(i) of the Bankruptcy Code,

12    in the amounts set forth in Exhibit 3, provided that the Debtor will continue to utilize such

13    services. The proposed deposit amounts were determined based on an average of the three (3)

14    monthly ledgers reflecting expenses the Debtor incurred for the respective Utility Companies. To

15    the extent that a deposit is already in place with a particular Utility, such amount was deducted (or

16    will be deducted) from the proposed deposit sought herein. The source of funds to be used to pay

17    the cash deposits to the Utility Companies will be the Debtor’s post-petition revenues and cash on

18    hand, and cash collateral. The proposed deposits are reflected in the cash collateral budget.

19           53.    Due to the voluminous nature of three bills per utility per location, the Debtor is not

20    attaching the bills themselves, but the summary as set forth in Exhibit 3.

21                               V.      CUSTOMER LOYALTY PROGRAMS

22           54.    The Debtor has instituted several customer programs to remain competitive and to

23    enhance its customer base. As of the Petition Date, the Debtor’s customer programs (collectively,

24    the “Customer Programs”) consist of the following:

25           55.    Merchandise Credits and Gift Cards. Merchandise credits arise when a customer

26    purchases a product in the store and later returns the product to the store without a receipt. Rather
27    than provide the customer with a cash refund, the store gives the customer a credit that can be

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  1   applied, up to the amount of the credit, to purchase goods in the store. Merchandise credits do not

  2   expire. Gift Cards are sold at the Debtor’s stores and online, and cannot be redeemed for cash.

  3   Gift cards can be reloaded and balances checked at any of the Debtor’s stores and online and do

  4   not expire. The Debtor believes that the outstanding obligations on account of unredeemed

  5   merchandise credit and gift cards totals approximately $150,000 as of the Petition Date.

  6   Historically, roughly 75% of the merchandise credits and gift cards are redeemed by customers.

  7   This balance represents credits issued over several years.

  8          56.    Customer Consignment Program. From time to time, because of COVID-19

  9   concerns deterring in-store shopping, the Debtor may allow certain VIP customers to order items

10    remotely and try them on at home, before being billed for those items. These customers may then

11    return unwanted items and be billed for the items that they elect to keep.

12           57.    The Debtor seeks authority in its discretion to honor the prepetition obligations

13    incurred under the Customer Programs. The Debtor also seeks authority, in its discretion, to

14    continue to honor the Customer Programs in the ordinary course of business. Such Customer

15    Programs have been provided in the Debtor’s ordinary course of business and are essential for the

16    Debtor to stay competitive in its industry.

17           58.    The Debtor is seeking the relief requested herein in order to maintain customer

18    confidence during the Case. Absent such relief, the Debtor’s customer relations will be severely

19    and irreparably harmed at a time when customer loyalty and patronage is extremely critical to the

20    Debtor and the Debtor’s ability to maximize value for the benefit of all of the parties.

21                                VI.    PREPETITION TAX OBLIGATIONS

22           59.    In the ordinary course of their business, the Debtor collects, withholds and incurs

23    Taxes that include sales and use, business and regulatory fees, customs duties, and other taxes and

24    fees (the “Taxes”) payable to various governmental taxing and licensing authorities (the “Taxing

25    Authorities”). The Debtor is required to remit the sales and use taxes collected in connection with

26    the sale of goods at its stores to the applicable Taxing Authorities on a periodic basis, usually
27    monthly in arrears for the prior month. Many governmental authorities where the Debtor operates

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  1   its business require that the Debtor obtain a business license and pay corresponding occupational

  2   fees and/or fees associated with the filing of an annual report with such jurisdictions. Taxing

  3   authorities also impose custom duties for the importation of goods. The requirement for a

  4   company to obtain a business license varies according to the tax law of the jurisdictions, and

  5   depends on many factors, including gross receipts.

  6           60.   The Debtor operates in seven (7) States, which each impose different tax obligations

  7   on the Debtor in connection with its business and operations. The Debtor remits the Taxes to

  8   various federal, state and local government authorities in the ordinary course of business. Taxes

  9   are remitted by the Debtor through checks and electronic transfers that are processed through its

10    banks and other financial institutions.

11            61.   Since the Taxes generally are paid in arrears, the Debtor holds the Taxes for a period

12    of time before remitting them to the appropriate Taxing Authorities. As such, some of the Taxing

13    Authorities were not paid for all prepetition Taxes prior to the Petition Date. As of the Petition

14    Date, the Debtor has collected and retained approximately $50,000.00 in prepetition Taxes for

15    which payment is due in the ordinary course of business.

16            62.   Other Taxing Authorities may have been sent checks with respect to Taxes that may

17    or may not have been presented or cleared as of the Petition Date. With respect to this category,

18    the Debtor requests authority, in its discretion and to the extent applicable, to issue postpetition

19    replacement checks to those Taxing Authorities that have not presented or cleared prepetition

20    checks issued on account of Taxes.

21            63.   Paying the prepetition Taxes is essential to the Debtor’s ongoing business

22    operations and successful reorganization. If the Debtor’s fail to pay Taxes, the Taking Authorities

23    may take actions that could impact the Debtor’s ability to operate without interruption. The Debtor

24    also may incur, and would be obligated to pay, increased interest and significant penalties if the

25    estate does not timely satisfy its ongoing tax obligations for the prepetition period or thereafter.

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  1           64.   The Debtor also believes that some of the Taxing Authorities may cause the Debtor

  2   to be audited if the Taxes are not paid promptly. Such audits would further divert attention from

  3   the reorganization process and increase the costs of administering this estate.

  4           65.   In addition, many Taxing Authorities and State agencies impose personal liability

  5   on the officers and directors of collecting entities, such as the Debtor, for Taxes collected by those

  6   entities that are not paid to the appropriate Taxing Authority. Thus, to the extent that any

  7   prepetition Taxes are unpaid, the Debtor’s officers and directors may be subject to audits and/or

  8   lawsuits on account of nonpayment during the pendency of this chapter 11 case. Such proceedings

  9   obviously would constitute a significant distraction for these officers and directors at a time when

10    they should be focused on the Debtor’s efforts to stabilize postpetition business operations and to

11    develop and implement a successful reorganization strategy. This problem could be compounded

12    if the affected individuals assert rights of indemnity against the Debtor for any costs incurred in

13    defending against or otherwise responding to claims which Taxing Authorities and/or State

14    agencies might assert against them on account of the Debtor’s nonpayment of Taxes.

15                               VII.    LIMITING NOTICE TO CREDITORS

16            66.   Based on the Debtor’s books and records, the Debtor has more than 150 creditors.

17    Many of the motions and applications that will be filed in this case will involve matters that

18    ordinarily fall within the parameters of notices required to be given to all creditors and equity

19    security holders in the Debtor’s case, but which will not actually affect a majority of creditors or

20    equity interest holders. Given the large number of creditors and interested parties involved and in

21    order to minimize, as much as possible, the administrative costs to the estate associated with

22    providing notice to all creditors, the Debtor requests that, with respect to matters for which the

23    Bankruptcy Code or the Bankruptcy Rules authorize the Court to limit or modify the manner of

24    providing notice, the Court authorize the Debtor to deliver notices only to the following

25    persons/entities:

26          (i)     The Office of the United States Trustee;
27          (ii)    The Subchapter V Trustee;

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  1          (iii)   The creditors holding 20 largest unsecured claims in this case or, if and when

  2                  appointed, counsel for the Official Committee of Unsecured Creditors;

  3          (iv)    Secured creditors or their counsel;

  4          (v)     Parties who file with the Court and serve upon the Debtor requests for special

  5                  notice; and

  6          (vi)    Any party against whom direct relief is sought by motion, application or

  7                  otherwise, including, by way of example and without limitation, the non-debtor

  8                  party to an executory contract being assumed or rejected, parties asserting interests

  9                  in property being sold, and the like.

10            67.    The Debtor expects to reduce administrative costs as a result of the noticing

11    procedures proposed herein and would like to effectuate such reductions in costs as soon as

12    practicable. Therefore, the Debtor believes that bringing this request on an emergency basis is

13    warranted.

14            68.    Unless otherwise ordered by the Court, the limitation on notice proposed by the

15    Debtor shall not apply to the matters or proceedings referred to in Bankruptcy Rules 2002(a)(1)

16    (meeting of creditors), 2002(a)(4) (hearing on the dismissal or conversion of the case), 2002(a)(5)

17    (time fixed to accept or reject a proposed modification of a plan), 2002(b) (time fixed for filing

18    objections and hearings to consider approval of a disclosure statement and confirmation of a plan

19    – recognizing that a disclosure statement is not required in subchapter V unless ordered for cause

20    shown pursuant to 11 U.S.C. § 1181(b)), 2002(d) (notice to equity security holders) and 2002(f)

21    (special meetings of creditors), which matters or proceedings shall be noticed in accordance with

22    such Bankruptcy Rules.

23            69.    If the Debtor’s motion to limit notice is granted, the Debtor proposes to inform all

24    creditors and other parties in interest of notice procedures set forth therein, including a creditor’s

25    and party in interest’s ability to file a request for special notice, if such party would like to receive

26    all notices filed and served in the Case by sending such persons a notice, by regular first class
27    mail, in the form attached hereto as Exhibit 4 (the “Notice of Procedures”). The Debtor submits

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  1   that serving the Notice of Procedures on all creditors and parties in interest provides such creditors

  2   and parties in interest with the information that they need in order to request special notice of all

  3   notices to be filed in this Case, should such party desire to do so.

  4           70.    In order to minimize administrative expenses and save the Debtor, and ultimately

  5   the creditors, considerable printing and copying costs, while at the same time, still providing

  6   parties in interest with notice of the various pleadings filed in this case, the Debtor suggests that

  7   for each pleading filed in this case, service shall be completed by mailing a notice to all parties

  8   that are required to be served with such pleading that informs the parties of the title of the pleading

  9   that has been filed, the location, time, date and hearing to take place, if any. Additionally, the

10    notice will state that should any party reading the notice want an electronic copy or a hard copy

11    of the pleading, such parties can obtain them by providing a written request by email or mail to

12    Debtor’s counsel. A notice similar to the notices that will be sent out pursuant to the foregoing

13    procedures is attached hereto as Exhibit 5. The Debtor submits that the Court should approve this

14    service procedure as it will save the estate substantial fees while at the same time ensuring that

15    parties in interest receive the information that they need to in order to make informed decisions

16    regarding the Debtor’s case and particular pleadings.

17                        VIII. REJECTION OF LEASES FOR CLOSING STORES

18            71.    The Debtor has seven (7) retail stores located throughout six (6) states in the United

19    States (collectively, the “Retail Stores”), which are operated and are leased by the Debtor. In

20    addition to the Retail Stores, the Debtor operates three (3) other retails stores, which are leased by

21    an affiliate of the Debtor, Escada America Management LLC.

22            72.    In addition to the Retail Stores, the Debtor also leases office space in New York

23    City, NY.

24            73.    Prior to the Petition Date, the Debtor made significant efforts to streamline its

25    operations and reduce operating expenses, both at the corporate overhead level and at the Retail

26    Stores level. However, notwithstanding the Debtor’s efforts, the Debtor has not been able to
27    generate the revenues necessary to sustain operations at all of its existing Retail Stores.

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  1           74.   The Debtor has analyzed the performance of its existing Retail Stores to determine

  2   which of the Retail Stores are underperforming. Based upon such analysis, the Debtor has

  3   identified a total of five (5) Retail Stores that are among the least profitable store locations and

  4   which the Debtor has determined, in the exercise of its business judgment, should be closed

  5   without delay (collectively, the “Closing Stores”). A list which identifies the Closing Stores and

  6   their addresses, as well as the names and addresses of the landlords for the Closing Stores is

  7   attached as Exhibit 6 hereto.

  8           75.   The Debtor believes that the rent and other obligations payable under the Leases are

  9   generally at or above the current market. Accordingly, the Debtor does not believe that the

10    marketing and assignment of the Leases to third parties would result in any net recovery for its

11    bankruptcy estate. As a result, the Debtor has determined that the cost to the Debtor of continuing

12    to occupy the Closing Stores, and of performing its obligations under the Leases for the Closing

13    Stores and incurring unnecessary administrative expenses, is burdensome, and that rejection of

14    the Leases for the Closing Stores is therefore in the best interests of the Debtor’s estate and

15    creditors.

16            76.   Given the Debtor’s determination that the Closing Stores are unprofitable store

17    locations, each day that such Closing Stores remain open results in significant financial losses (and

18    increased administrative expense) to the Debtor’s bankruptcy estate, which must be avoided to

19    preserve the value of the Debtor’s assets, conserve the Debtor’s resources and cash, and maximize

20    the Debtor’s ability to successfully reorganize in this case. As such, the Debtor has determined

21    that having to file the motion to obtain Court authority to reject the Leases on regular notice would

22    result in a material loss of the Debtor’s cash and accrual of administrative claims for unpaid rent,

23    with no benefit to the estate. Accordingly, the Debtor is seeking relief on an expedited basis.

24            77.   For the reasons noted above, the Debtor is seeking the entry of an order authorizing

25    the Debtor to immediately reject the unexpired non-residential real property leases (collectively,

26    the “Leases,” and individually a “Lease”) for the Closing Stores identified in Exhibit 6 hereto.
27    Due to the large number and voluminous nature of the Leases, the Debtor has not attached copies

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  1   of the Leases. However, complete copies of one or more of the Leases will be provided upon

  2   written request to counsel for the Debtor, whose contact information is set forth on the upper left

  3   hand corner of the first page of this pleading.

  4           78.    The Debtor seeks to reject each of the Leases for the Closing Stores effective as of

  5   the Petition Date, as Debtor has already vacated the premises.

  6           79.    The Debtor is continuing to evaluate the remaining leases and may elect to reject

  7   other leases at a later date.

  8           80.    The granting of Debtor’s motion to reject the leases is without prejudice to landlords

  9   and parties in interest from asserting administrative claims at a later date. Debtor reserves all

10    rights, claims, and defenses.

11            81.    The Debtor believes that it has removed all owned personal property assets (the

12    “Remaining Personal Property”) located at the Closing Stores as of the Petition Date. However,

13    out of an abundance of caution and solely to the extent that the Debtor retained (or retains) any

14    ownership interest in any Remaining Personal Property, the Debtor seeks authority to abandon

15    any Remaining Personal Property that remain at the Closing Stores as of the Petition Date.

16            82.    The Debtor believes that the costs associated with liquidating any Remaining

17    Personal Property at the Closing Stores will likely approach or exceed the value of such assets.

18    Accordingly, the Debtor believes that the Remaining Personal Property at the Closing Stores, if

19    any, have inconsequential value to the Debtor’s estate and should be abandoned.

20
      Dated: January 18, 2022                       ESCADA AMERICA LLC
21

22                                           By: ___/s/ John-Patrick M. Fritz_____
                                                   JOHN-PATRICK M. FRITZ
23                                                 LEVENE, NEALE, BENDER,
                                                   YOO & GOLUBCHIK L.L.P.
24                                                 Attorneys for Chapter 11
                                                   Debtor and Debtor in Possession
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  1                              DECLARATION OF KEVIN WALSH

  2          I, Kevin Walsh, hereby declare as follows:

  3          1.     I have personal knowledge of the facts set forth below and, if called to testify,

  4   would and could competently testify thereto.

  5          2.     I am the Director of Finance for Escada America LLC, a Delaware limited liability

  6   company. (the “Debtor”), the debtor and debtor in possession in this chapter 11 bankruptcy case.

  7          3.     I am an experienced finance professional, having worked for the Debtor since

  8   2016 and with prior work experience at Fortune 500 companies including Johnson & Johnson

  9   (Controller/Director) and Pfizer (Finance Director).

10           4.     I have reviewed and am familiar with and am knowledgeable about the books and

11    records of the Debtor, which books and records are made in the regular practice of business,

12    kept in the regular course of business, made by a person with knowledge of the events and

13    information related thereto, and made at or near the time of events and information recorded.

14           5.     I make this declaration in support of the following emergency first-day motions

15    (each a “Motion” and, collectively, the “Motions”)2 and in support of the Debtor’s chapter 11,

16    subchapter V plan of reorganization:

17
                    a. Debtor’s Emergency Motion for Order: (I) Authorizing Interim
18                     Use of Cash Collateral Pursuant to Section 363 of the
19                     Bankruptcy Code; and (II) Setting a Final Hearing (the “Cash
                       Collateral Motion”);
20
                    b. Debtor’s Emergency Motion for Order Authorizing Debtor to:
21                     (I) Pay Prepetition Wages, Commissions and Bonuses; and (II)
                       Honor Accrued Vacation and Leave Benefits in the Ordinary
22                     Course of Business (the “Wage Motion”);
23
                    c. Debtor’s Emergency Motion for Order: (I) Authorizing Debtor
24                     to Provide Adequate Assurance of Future Payment to Utility
                       Companies Pursuant to Section 366(c) of the Bankruptcy Code;
25                     and (II) Setting a Final Hearing (the “Utilities Motion”);

26
27    2
       A true and correct copy of the proposed orders granting the Motions is attached as Exhibit
      “A” to each of the respective Motions.
28


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  1                    d. Debtor’s Emergency Motion for Order Authorizing Debtor to
                          Honor Certain Prepetition Obligations to Customers (the
  2                       “Customer Loyalty Motion”);
  3
                       e. Debtor’s Emergency Motion for Order Authorizing Debtor to
  4                       Pay Certain Prepetition Taxes and Custom Duties (the “Tax
                          Motion”);
  5
                       f. Debtor’s Emergency Motion for Order Limiting Notice and
  6                       Related Relief (the “Limit Notice Motion”); and
  7                    g. Debtor’s Emergency Motion for Order Authorizing Debtor to (I)
                          Reject Certain Unexpired Non-Residential Real Property Leases
  8
                          Pursuant to 11 U.S.C. § 365; and (II) Abandon Any Remaining
  9                       Personal Property Located at the Leased Premises (the “Lease
                          Rejection Motion”)
10

11
             6.        Unless otherwise stated with specificity or implied by context, capitalized defined
12
      terms used in this declaration have the same meanings as attributed to them in the master
13
      statement of facts to which this declaration is attached.
14
                                    GENERAL FACTUAL BACKGROUND
15
                  A.      General Background
16
             7.        Escada America LLC, a Delaware limited liability company, (the “Debtor”)
17
      commenced its bankruptcy case by filing a voluntary petition under chapter 11 of the
18
      Bankruptcy Code on January 18, 2022, (the “Petition Date”). The Debtor elected subchapter V
19
      on its bankruptcy petition and is a small business debtor as defined by the Bankruptcy Code.
20
             8.        The United States Trustee (the “UST”) appointed (or soon will appoint) a
21
      subchapter V trustee (the “Trustee”).
22
             9.        The Debtor continues to manage its financial affairs, operate its business, and
23
      administer its bankruptcy estate as a debtor in possession.
24
             10.       The Debtor was formed as a Delaware limited liability company in 2009.
25
             11.       The Debtor is a national specialty retailer selling high-end, ready-to-wear
26
      women’s apparel with its main office in Beverly Hills, California, ten (10) retail stores across
27
      seven (7) states in the United States, an office New York City, New York, and over 50 fulltime
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  1   employees. The Debtor’s retail business is generally known to the public and branded as

  2   “Escada.” The Debtor uses the “Escada” brand via a license agreement and does not own any

  3   intellectual property rights in connection with the “Escada” brand.

  4          12.    For several decades, Escada had been a global retail brand for high-fashion, high-

  5   end, ready-to-wear apparel for women, with an emphasis on high-fashion evening wear.

  6          13.    On a global scale, Escada has various retail stores and subsidiaries in several

  7   countries in Europe, including but not limited to Spain, England and Germany. Escada also has

  8   retail stores in North America, including the Debtor, which operates Escada’s brick-and-mortar

  9   retail business only in the United States.

10           14.    Historically, Escada (under its prior ownership and prior management) had run its

11    affairs in an unprofitable manner: (1) over-aggressive expansion into new, untested, and/or

12    unprofitable markets and store locations; (2) overpriced commercial retail leases; (3) expensive

13    management overhead and poor leadership; and (4) failure to update the brand so as to keep it

14    relevant with changing tastes and generational shifts.

15           15.    By 2019, the Escada business on a global scale was in deep distress and could not

16    continue. At that time, the Debtor, together with other subsidiaries of Escada’s then-parent

17    company, was acquired by new ownership (which is now the current ownership and

18    management).

19           16.    At the time of the acquisition of Debtor in 2019, Escada had 29 subsidiaries in 22

20    countries, all of which were financially distressed.

21           17.    In December 2019, the Debtor devised and began implementation of a plan to turn

22    around the United States Escada retail business. Debtor believed that the business could be

23    operated at a profit if fundamental business-model changes were implemented, such as

24    overhauling the Debtor’s technological suite and reducing speed to market by shifting supply

25    chains from Asia to Europe. Debtor’s turnaround plan was also contingent upon Debtor’s ability

26    to sell product at Debtor’s physical locations because ecommerce sales were minimal.
27

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  1          18.    However, what was not – and could not be – known at the time of the acquisition

  2   in November 2019, was that an unprecedented, global, catastrophic, and life-changing event

  3   with severe economic consequences was on the immediate horizon – the Covid-19 pandemic.

  4         B.      Covid-19 and Events Leading to the Debtor’s Bankruptcy Filing

  5          19.    In December 2019, just one month after the acquisition and just as the Debtor’s

  6   transformation plan was being put into effect, the novel corona virus, known to us now as Covid-

  7   19, was quietly spreading in certain regions of Asia, unbeknownst to the rest of the world.

  8          20.    From December 2019 through February 2020, the Debtor prepared to implement

  9   a number of business-model and operational changes with the goal of making the United States

10    Escada retail business profitable and correct the mistakes of its prior management and prior

11    owners.

12           21.    However, in March 2020, the world drastically changed, and set the Debtor on

13    course for this current bankruptcy filing.

14           22.    On or about March 15, 2020, the City of Los Angeles declared a state of

15    emergency with shelter in place orders. In the following days, many business and financial

16    centers across the United States came to a near total standstill as the nation was gripped by the

17    Covid-19 crisis.

18           23.    The Debtor invites the Court’s attention to this news article from USA Today

19    summarizing when thirty-eight states issued various shelter-at-home orders due to the Covid-19

20    pandemic between March 19, 2020, and April 1, 2020:

21     https://www.usatoday.com/story/news/nation/2020/03/30/coronavirus-stay-home-shelter-in-

22    place-orders-by-state/5092413002/

23           The same information is generally summarized in the table below for ease of reference:

24    3/19/20      California              3/23/20    Indiana                  3/28/20    Kansas
      3/20/20      New York                3/23/20    Michigan                 3/28/20    Rhode Island
25    3/20/20      Oregon                  3/24/20    Delaware                 3/30/20    Tennessee
      3/20/20      Illinois                3/24/20    Wisconsin                3/30/20    Arizona
26
      3/21/20      New Jersey              3/25/20    Colorado                 3/30/20    Kentucky
27    3/22/20      Connecticut             3/25/20    Idaho                    3/30/20    Maryland
      3/22/20      Louisiana               3/25/20    Kentucky                 3/31/20    Maine
28


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  1   3/23/20      Massachusetts            3/25/20     Minnesota               3/31/20    Texas
      3/23/20      Ohio                     3/25/20     Vermont                 4/1/20     Florida
  2
      3/23/20      Pennsylvania             3/26/20     Montana                 4/1/20     Georgia
  3   3/23/20      West Virginia            3/27/20     North Carolina          4/1/20     Mississippi
      3/23/20      Washington               3/27/20     Alaska                  4/1/20     Nevada
  4   3/23/20      Hawaii                   3/27/20     New Hampshire
  5

  6          24.    In the span of just 12 days, all fifteen (15) of the Debtor’s then-active stores in

  7   eight (8) States were shuttered due to lockdown restrictions.

  8          25.    Due to rising concerns about Covid-19 in February 2020 before the lockdowns,

  9   the U.S. stock market had plummeted, with the Dow Jones Industrial Average dropping from a

10    high of nearly 30,000 to near 20,000 points, having a significant impact on general consumer

11    behavior and sales in the luxury retail fashion industry.

12           26.    In late March 2020, the United States federal government responded with historic

13    economic aid, passing the CARES Act and providing approximately $3 trillion of stimulus to

14    the economy, which may have bolstered the stock market’s recovery, but such economic

15    stimulus did nothing to help retail businesses such as the Debtor, which rely on foot traffic from

16    customer shopping in stores to generate sales. Unfortunately, the Debtor was not eligible for

17    any of these stimulus payments and was left with no support during these unprecedented times.

18    In addition, as long as the pandemic lockdowns continued and stores remained closed, or

19    shoppers refrained from shopping due to deep concerns about their health and safety, the Covid-

20    19 recession for retail businesses would continue.

21           27.    For the past 21 months from March 2020 to December 2021, the Debtor reduced

22    its overhead expenses by an estimated $13,383,037.40 and entered into negotiations with its

23    commercial landlords for rent relief at all store locations.

24           28.    Nonetheless, the past 21 months have been a marked state of tremendous

25    uncertainty for the world’s health and economic affairs brought on by an unprecedented

26    pandemic, followed by an unprecedented recession, then unprecedented trillions of dollars of

27    government aid, none of which has prevented the ongoing uncertainty posed by Covid-19

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  1   variants and the attendant on-again-off-again lockdowns across the nation and around the world,

  2   all of which makes business in the current economic environment very difficult.

  3           29.   Some commercial landlords have been reasonable, and the Debtor has negotiated

  4   many workouts with its various landlords during 2020 and 2021. However, there remain

  5   multiple landlords that have remained obstinate, and the end of the government’s Covid-19 anti-

  6   eviction and anti-foreclosure protections are for many landlords a herald’s call to commence

  7   lawsuits and eviction. It is because of the consequences of the Covid-19 pandemic that Debtor

  8   has been forced to file bankruptcy to restructure its business affairs.

  9           30.   The Debtor was able to reach deals with landlords for three (3) of the then-fifteen

10    (15) store locations.

11            31.   Of the remaining twelve (12) stores where deals had not yet been reached,

12    negotiations are ongoing with landlords for three (3) of these locations, while landlords for the

13    other nine (9) stores did not offer any concessions.

14            32.   The Debtor cannot survive ongoing litigation with these landlords and the

15    attendant litigation costs and potential liability for breach of those leases.

16            33.   Accordingly, the Debtor determined in its reasonable business judgment that it

17    was in the best interest of its estate to file this current bankruptcy case to preserve the going-

18    concern value of its business and save the jobs of its employees.

19            34.   The Debtor intends to propose a subchapter V plan in good faith to reorganize its

20    financial affairs, repay its creditors, and avoid a senseless and unnecessary liquidation.

21          C.      Secured Creditors

22            35.   The Debtor has three secured creditors (each a “Secured Creditor” and

23    collectively, the “Secured Creditors”).

24            36.   Eden Roc International, LLC (“Eden Roc”) has a first-position security interest

25    perfected by the filing of a UCC-1 on substantially all the Debtor’s assets and a secured debt of

26    approximately $579,025.32.
27

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  1          37.    Mega International, LLC (“Mega”) has a second-position security interest

  2   perfected by the filing of a UCC-1 on substantially all the Debtor’s assets and a secured debt of

  3   approximately $1,506,953.

  4          38.    Escada Sourcing and Production, LLC (“ESP”) is a true consignor, and

  5   substantially all of the Debtor’s inventory is owned by ESP via a consignment agreement

  6   between the parties. ESP recorded a UCC-1 to give the world notice of its consignment. The

  7   Debtor and Secured Parties contend that ESP is a true consignor. However, for the purpose of

  8   use of cash collateral, to the extent that ESP might be considered a secured creditor with an

  9   interest in cash collateral, ESP consents to the use of cash collateral set forth in the Budget.

10           39.    As set forth in the UCC report from the State of Delaware attached as Exhibit 7

11    to the Declaration of John-Patrick M. Fritz, Esq. (the “Fritz Declaration”) the following UCC-1

12    liens have been recorded against the Debtor as of the Petition Date.

13           40.     A UCC-1 financing statement (filing number 2020 4572691) filed on July 2,

14    2020, for secured party Eden Roc, providing notice of a blanket lien against substantially all of

15    the Debtor’s property.

16           41.    A UCC-1 financing statement (filing number 2020 4572923) filed on July 2, 2020,

17    for secured party Mega, providing notice of a blanket lien against substantially all of the

18    Debtor’s property.

19           42.    A UCC-1 financing statement (filing number 2021 1151423) filed on February

20    11, 2021, for secured party ESP, providing notice of the consignment and a lien on all inventory.

21           43.    A UCC-1 financing statement (filing number 2021 1151456) filed on February

22    11, 2021, for secured party Mega, providing notice of a blanket lien against substantially all of

23    the Debtor’s property.

24                                         CASH COLLATERAL USE

25           44.    The Debtor requires the use of cash collateral to maintain and operate its business

26    and preserve its going concern value by paying ordinary and necessary expenses, as set forth in
27    the Budget through April 22, 2022. The payment of the expenses reflected in the Budget are

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  1   necessary to avoid immediate and irreparable harm, and they are in in the best interest of the

  2   estate. A true and correct copy of the Budget is attached as Exhibit 1 hereto.

  3            45.   The Debtor’s Secured Creditors have consented to the Debtor’s use of cash

  4   collateral as set forth in the Budget.

  5            46.   No pre-petition debt service payments will be made to Secured Creditors, but a

  6   payment for post-petition inventory may be paid, at a discount, to ESP in or around April 2022

  7   (the Budget ends the week of April 15, 2022).

  8            47.   The Debtor submits that the relief requested by the Debtor pertaining to the use of

  9   cash collateral does not contain any of the following provisions, except as otherwise indicated

10    below:

11
      Provision                                                                    Cash Coll.
12    Cross-collateralization clauses                                              No
13    Provisions or findings of fact that bind the estate or all parties in interest No
      with respect to the validity, perfection or amount of the secured party’s
14    pre-petition lien or debt or the waiver of claims against the secured
      creditor.
15
      Provisions or findings of fact that bind the estate or all parties in interest No
16    with respect to the relative priorities of the secured party’s pre-petition
      lien.
17

18    Provisions that operate, as a practical matter, to divest the Debtor of any No
      discretion in the formulation of a plan or administration of the estate or
19    to limit access to the court to seek any relief under other applicable
      provision of law.
20
      Waivers of 11 U.S.C. § 506(c), unless the waiver is effective only           No
21    during the period in which the Debtor is authorized to use cash
      collateral or borrow funds.
22
      Releases of liability for the creditor’s alleged prepetition torts or        No
23    breaches of Contract.

24    Waivers of avoidance actions arising under the Bankruptcy Code.              No
25    Provisions that deem prepetition secured debt to be postpetition debt or     No
      that use postpetition loans from a prepetition secured creditor to pay
26    part or all of that secured creditor’s prepetition debt
27    Provisions that prime any secured lien                                       No
28


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  1   Automatic relief from the automatic stay upon default, conversion to        No
      chapter 7, or appointment of a trustee.
  2
      Waivers of procedural requirements, including those for foreclosure         No
  3   mandated under applicable non-bankruptcy law, and for perfection of
      replacement liens.
  4
      Adequate protection provisions which create liens on claims for relief      No
  5   arising under 11 U.S.C. §§ 506(c), 544, 545, 547, 548 and 549.
  6
      Waivers, effective on default or expiration, of the Debtor’s right to       No
  7   move for a court order pursuant to 11 U.S.C. § 363(c)(2)(B) authorizing
      the use of cash collateral in the absence of the secured party’s consent
  8
      Provisions that grant a lien in an amount in excess of the dollar amount    No
  9   of cash collateral authorized under the applicable cash collateral order.

10    Provisions providing for the paying down of prepetition principal owed      No
      to a creditor.
11
      Findings of fact on matters extraneous to the approval process.             No
12
             48.    The Debtor requires a waiver of the 14-day stay provided for under Bankruptcy
13
      Rule 6004 because the Debtor needs to use cash collateral as soon as possible to maintain the
14
      Debtor’s business as a going concern for the benefit of the Debtor’s estate. The Debtor requests
15
      that any applicable stay, including the stay provided under Bankruptcy Rule 6004, be waived to
16
      allow Order on this Motion to become immediately effective. Immediate use of cash collateral
17
      is necessary to avoid immediate and irreparable harm, as the Budget’s expenses are for
18
      immediate necessary expenses, such as payroll, insurance, rent, and utilities, all of which are
19
      needed to preserve the value of ongoing operations.
20
                         PREPETITION WAGES AND PREPETITION PAYROLL
21
             49.    The Debtor employs approximately 58 employees (collectively referred to herein
22
      as “employees”).
23
             50.    Employee travel and business expenses are submitted weekly and repaid in arrears
24
      after review and approval.
25
             51.    The Debtor makes matching contributions to employees’ 401k retirement plans.
26
      If an eligible employee contributes up to 100% of his or her compensation as a pre-tax deferral,
27
      the Debtor makes a matching contribution of 50%, limited to $1,000 of compensation each year.
28


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  1          52.    The Debtor provides full-time employees with comprehensive benefits, paid time

  2   off, holidays, savings account options, 401k retirement plan, and commuter benefits. The

  3   Debtor provides employees with flexible spending accounts for up to $2,750 annually in covered

  4   health care costs and up to $5,000 for reimbursement for dependent care. The Debtor provides

  5   employees with up to $270 per month in parking or transit benefits. The Debtor provides

  6   employees with basic life insurance and accidental death and dismemberment insurance equal

  7   to one-times the employee’s annual salary up to a maximum of $200,000; life insurance

  8   premiums in excess of $50,000 is considered income to the employee. The Debtor also provides

  9   employees with short-term and long-term disability insurance.

10           53.    Payroll is paid through the third-party ADP, which makes deductions for any

11    applicable workers compensation contributions, medical benefit contributions, federal and state

12    withholding taxes, and payroll taxes.

13           54.    The Debtor has two payrolls: RW6, paid 24 times in one year in approximately

14    14- or 15-day intervals; and RW7, paid 26 times in one year in approximately 14-day intervals.

15    The next payroll for RW6 is due on January 28, 2022, and will include a prepetition stub period

16    of 1/15/2022 to 1/18/2022; and the next payroll for RW7 is due on January 21, 2022, and will

17    include a prepetition stub period of 1/8/2022 to 1/18/2022 (the “Prepetition Payroll”). The

18    amounts for the Prepetition Payroll are within the limits of § 507(a)(4) of $13,650 per employee.

19           55.    Exhibit 2 to my Declaration is an example of the three recent payrolls 3 for RW6

20    and RW7, which summarizes the employees and independent contractors, the total amount of

21    the typical payroll, demonstrating that the Prepetition Payroll is well within the limit of $13,650

22    per employee. Out of respect for personal privacy, the exhibit does not show the employees’

23    names, but a version with employees’ names is available on a confidential basis to the U.S.

24    Trustee and Trustee upon request. The exhibit shows the amounts allocated for healthcare,

25

26    3
       RW6 has four employees, and RW7 has approximately 50 employees, but Exhibit 2 shows
      12 lines of data for RW6 and shows more than 150 lines of data for RW7 because three
27    payrolls for each are being shown, i.e. for RW6, the same 4 employees over three payrolls,
      and for RW7, the same approximately 50 employees over three payrolls.
28


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  1   taxes, workers comp, and federal and state unemployment, etc. None of the employees to paid

  2   Prepetition Payroll are insiders. The exhibit is an estimate and approximation of what will be

  3   paid in the forthcoming payrolls (which have not yet been generated), and the past three payrolls

  4   have been summarized below here for ease of reference:

  5          RW6

  6    Pay Date            Payroll             # of Employees
  7    12/15/2021          $27,603.67          4
  8    12/30/2021          $24,714.24          4
  9    1/14/2022           $22,116.43          4
10           RW7
11     Pay Date            Payroll             # of Employees
12     12/10/2021          $102,103.04         50
13     12/23/2021          $133,100.42         50
14     1/7/2022            $101,106.63         50
15           56.    All of the employees to which the Debtor seeks to pay Prepetition Payroll for the
16    prepetition period are still employed by the Debtor (a small number of employees may be
17    terminated due to store closings, but their claims are within the statutory limit and must be paid
18    in full, therefore for the sake of administrative convenience, the Debtor seeks to pay them at this
19    time). The Debtor submits that approval to honor the Prepetition Payroll for the Prepetition
20    Period, including all federal and state withholding taxes, payroll taxes, employer matching
21    401(k) contributions, and payroll service fees, will not render the estate administratively
22    insolvent (as demonstrated by the cash collateral budget). The Debtor’s employees are integral
23    to the Debtor’s continued operation and the generation of revenue, while preserving the value
24    of the estate. In short, the Debtor cannot continue to operate and reorganize without the
25    employees. If the Debtor does not continue to pay its employees their ordinary and earned
26    wages, salaries, commissions, and bonuses, the employees will likely quit. Without employees,
27    the Debtor’s operations and the value of its business will be severely impaired, if not eviscerated
28


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  1   altogether. The source of the funds to be used to honor and pay the Prepetition Payroll is the

  2   Debtor’s cash, which is the cash collateral of secured creditors. The Debtor has submitted a

  3   budget and motion for court authority to use cash collateral to pay the Prepetition Payroll.

  4                                                  UTILITIES

  5             57.   To operate its business, the Debtor receives water, gas, electricity, sewer, garbage

  6   telephone, internet, and similar utility services from a number of utility companies (each a

  7   “Utility Company,” and collectively, the “Utility Companies”). Given the importance of the

  8   services provided by the Utility Companies to the Debtor’s business, it is crucial that the means

  9   of providing adequate assurance to the Utility Companies which provide utility services to the

10    Debtor be determined so that there is no interruption in the services provided.

11              58.   Prior to the commencement of the Debtor’s bankruptcy case, the Utility

12    Companies listed in Exhibit 3 to my Declaration provided utility services to the Debtor. The

13    Debtor intends to provide adequate “assurance of payment” by providing each of the Utility

14    Companies listed in Exhibit 3 with a cash deposit, as authorized by the Bankruptcy Code, in the

15    amounts set forth in Exhibit 3, provided that the Debtor will continue to utilize such services.

16    The proposed deposit amounts were determined based on an average of the three (3) monthly

17    ledgers reflecting expenses the Debtor incurred for the respective Utility Companies. To the

18    extent that a deposit is already in place with a particular Utility, such amount was deducted (or

19    will be deducted) from the proposed deposit sought herein. The source of funds to be used to

20    pay the cash deposits to the Utility Companies will be the Debtor’s post-petition revenues and

21    cash on hand, and cash collateral. The proposed deposits are reflected in the cash collateral

22    budget.

23              59.   Due to the voluminous nature of three bills per utility per location, the Debtor is

24    not attaching the bills themselves, but the summary as set forth in Exhibit 3.

25    ///

26    ///
27    ///

28


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  1                                  CUSTOMER LOYALTY PROGRAMS

  2          60.    The Debtor has instituted several customer programs to remain competitive and

  3   to enhance its customer base. As of the Petition Date, the Debtor’s customer programs

  4   (collectively, the “Customer Programs”) consist of the following:

  5          61.    Merchandise Credits and Gift Cards. Merchandise credits arise when a customer

  6   purchases a product in the store and later returns the product to the store without a receipt. Rather

  7   than provide the customer with a cash refund, the store gives the customer a credit that can be

  8   applied, up to the amount of the credit, to purchase goods in the store. Merchandise credits do

  9   not expire. Gift Cards are sold at the Debtor’s stores and online, and cannot be redeemed for

10    cash. Gift cards can be reloaded and balances checked at any of the Debtor’s stores and online

11    and do not expire. The Debtor believes that the outstanding obligations on account of

12    unredeemed merchandise credit and gift cards totals approximately $150,000 as of the Petition

13    Date. Historically, roughly 75% of the merchandise credits and gift cards are redeemed by

14    customers. This balance represents credits issued over several years.

15           62.    Customer Consignment Program. From time to time, because of COVID-19

16    concerns deterring in-store shopping, the Debtor may allow certain VIP customers to order items

17    remotely and try them on at home, before being billed for those items. These customers may

18    then return unwanted items and be billed for the items that they elect to keep.

19           63.    The Debtor seeks authority in its discretion to honor the prepetition obligations

20    incurred under the Customer Programs. The Debtor also seeks authority, in its discretion, to

21    continue to honor the Customer Programs in the ordinary course of business. Such Customer

22    Programs have been provided in the Debtor’s ordinary course of business and are essential for

23    the Debtor to stay competitive in its industry.

24           64.    The Debtor is seeking the relief requested herein in order to maintain customer

25    confidence during the Case. Absent such relief, the Debtor’s customer relations will be severely

26    and irreparably harmed at a time when customer loyalty and patronage is extremely critical to
27    the Debtor and the Debtor’s ability to maximize value for the benefit of all of the parties.

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  1                                  PREPETITION TAX OBLIGATIONS

  2          65.    In the ordinary course of their business, the Debtor collects, withholds and incurs

  3   Taxes that include sales and use, business and regulatory fees, customs duties, and other taxes

  4   and fees (the “Taxes”) payable to various governmental taxing and licensing authorities (the

  5   “Taxing Authorities”). The Debtor is required to remit the sales and use taxes collected in

  6   connection with the sale of goods at its stores to the applicable Taxing Authorities on a periodic

  7   basis, usually monthly in arrears for the prior month. Many governmental authorities where the

  8   Debtor operates its business require that the Debtor obtain a business license and pay

  9   corresponding occupational fees and/or fees associated with the filing of an annual report with

10    such jurisdictions. Taxing authorities also impose custom duties for the importation of goods.

11    The requirement for a company to obtain a business license varies according to the tax law of

12    the jurisdictions, and depends on many factors, including gross receipts.

13           66.    The Debtor operates in seven (7) States, which each impose different tax

14    obligations on the Debtor in connection with its business and operations. The Debtor remits the

15    Taxes to various federal, state and local government authorities in the ordinary course of

16    business. Taxes are remitted by the Debtor through checks and electronic transfers that are

17    processed through its banks and other financial institutions.

18           67.    Since the Taxes generally are paid in arrears, the Debtor holds the Taxes for a

19    period of time before remitting them to the appropriate Taxing Authorities. As such, some of

20    the Taxing Authorities were not paid for all prepetition Taxes prior to the Petition Date. As of

21    the Petition Date, the Debtor has collected and retained approximately $50,000.00 in prepetition

22    Taxes for which payment is due in the ordinary course of business.

23           68.    Other Taxing Authorities may have been sent checks with respect to Taxes that

24    may or may not have been presented or cleared as of the Petition Date. With respect to this

25    category, the Debtor requests authority, in its discretion and to the extent applicable, to issue

26    postpetition replacement checks to those Taxing Authorities that have not presented or cleared
27    prepetition checks issued on account of Taxes.

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  1          69.    Paying the prepetition Taxes is essential to the Debtor’s ongoing business

  2   operations and successful reorganization. If the Debtor’s fail to pay Taxes, the Taking

  3   Authorities may take actions that could impact the Debtor’s ability to operate without

  4   interruption. The Debtor also may incur, and would be obligated to pay, increased interest and

  5   significant penalties if the estate does not timely satisfy its ongoing tax obligations for the

  6   prepetition period or thereafter.

  7          70.    The Debtor also believes that some of the Taxing Authorities may cause the

  8   Debtor to be audited if the Taxes are not paid promptly. Such audits would further divert

  9   attention from the reorganization process and increase the costs of administering this estate.

10           71.    In addition, many Taxing Authorities and State agencies impose personal liability

11    on the officers and directors of collecting entities, such as the Debtor, for Taxes collected by

12    those entities that are not paid to the appropriate Taxing Authority. Thus, to the extent that any

13    prepetition Taxes are unpaid, the Debtor’s officers and directors may be subject to audits and/or

14    lawsuits on account of nonpayment during the pendency of this chapter 11 case. Such

15    proceedings obviously would constitute a significant distraction for these officers and directors

16    at a time when they should be focused on the Debtor’s efforts to stabilize postpetition business

17    operations and to develop and implement a successful reorganization strategy. This problem

18    could be compounded if the affected individuals assert rights of indemnity against the Debtor

19    for any costs incurred in defending against or otherwise responding to claims which Taxing

20    Authorities and/or State agencies might assert against them on account of the Debtor’s

21    nonpayment of Taxes.

22                                   LIMITING NOTICE TO CREDITORS

23           72.    Based on the Debtor’s books and records, the Debtor has more than 150 creditors.

24    Many of the motions and applications that will be filed in this case will involve matters that

25    ordinarily fall within the parameters of notices required to be given to all creditors and equity

26    security holders in the Debtor’s case, but which will not actually affect a majority of creditors
27    or equity interest holders. Given the large number of creditors and interested parties involved

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  1   and in order to minimize, as much as possible, the administrative costs to the estate associated

  2   with providing notice to all creditors, the Debtor requests that, with respect to matters for which

  3   the Bankruptcy Code or the Bankruptcy Rules authorize the Court to limit or modify the manner

  4   of providing notice, the Court authorize the Debtor to deliver notices only to the following

  5   persons/entities:

  6         (i)     The Office of the United States Trustee;

  7         (ii)    The Subchapter V Trustee;

  8         (iii)   The creditors holding 20 largest unsecured claims in this case or, if and when

  9                 appointed, counsel for the Official Committee of Unsecured Creditors;

10          (iv)    Secured creditors or their counsel;

11          (v)     Parties who file with the Court and serve upon the Debtor requests for special

12                  notice; and

13          (vi)    Any party against whom direct relief is sought by motion, application or

14                  otherwise, including, by way of example and without limitation, the non-debtor

15                  party to an executory contract being assumed or rejected, parties asserting interests

16                  in property being sold, and the like.

17           73.    The Debtor expects to reduce administrative costs as a result of the noticing

18    procedures proposed herein and would like to effectuate such reductions in costs as soon as

19    practicable. Therefore, the Debtor believes that bringing this request on an emergency basis is

20    warranted.

21           74.    Unless otherwise ordered by the Court, the limitation on notice proposed by the

22    Debtor shall not apply to the matters or proceedings referred to in Bankruptcy Rules 2002(a)(1)

23    (meeting of creditors), 2002(a)(4) (hearing on the dismissal or conversion of the case),

24    2002(a)(5) (time fixed to accept or reject a proposed modification of a plan), 2002(b) (time fixed

25    for filing objections and hearings to consider approval of a disclosure statement and

26    confirmation of a plan – recognizing that a disclosure statement is not required in subchapter V
27    unless ordered for cause shown), 2002(d) (notice to equity security holders) and 2002(f) (special

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  1   meetings of creditors), which matters or proceedings shall be noticed in accordance with such

  2   Bankruptcy Rules.

  3           75.   If the Debtor’s motion to limit notice is granted, the Debtor proposes to inform all

  4   creditors and other parties in interest of notice procedures set forth therein, including a creditor’s

  5   and party in interest’s ability to file a request for special notice, if such party would like to

  6   receive all notices filed and served in the Case by sending such persons a notice, by regular first

  7   class mail, in the form attached hereto as Exhibit 4 (the “Notice of Procedures”). The Debtor

  8   submits that serving the Notice of Procedures on all creditors and parties in interest provides

  9   such creditors and parties in interest with the information that they need in order to request

10    special notice of all notices to be filed in this Case, should such party desire to do so.

11            76.   In order to minimize administrative expenses and save the Debtor, and ultimately

12    the creditors, considerable printing and copying costs, while at the same time, still providing

13    parties in interest with notice of the various pleadings filed in this case, the Debtor suggests that

14    for each pleading filed in this case, service shall be completed by mailing a notice to all parties

15    that are required to be served with such pleading that informs the parties of the title of the

16    pleading that has been filed, the location, time, date and hearing to take place, if any.

17    Additionally, the notice will state that should any party reading the notice want an electronic

18    copy or a hard copy of the pleading, such parties can obtain them by providing a written request

19    by email or mail to Debtor’s counsel. A notice similar to the notices that will be sent out pursuant

20    to the foregoing procedures is attached hereto as Exhibit 5. The Debtor submits that the Court

21    should approve this service procedure as it will save the estate substantial fees while at the same

22    time ensuring that parties in interest receive the information that they need to in order to make

23    informed decisions regarding the Debtor’s case and particular pleadings.

24                            REJECTION OF LEASES FOR CLOSING STORES

25            77.   The Debtor has seven (7) retail stores located throughout six (6) states in the

26    United States (collectively, the “Retail Stores”), which are operated and are leased by the
27

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  1   Debtor. In addition to the Retail Stores, the Debtor operates three (3) other retails stores, which

  2   are leased by an affiliate of the Debtor, Escada America Management LLC.

  3          78.    In addition to the Retail Stores, the Debtor also leases office space in New York

  4   City, NY.

  5          79.    Prior to the Petition Date, the Debtor made significant efforts to streamline its

  6   operations and reduce operating expenses, both at the corporate overhead level and at the Retail

  7   Stores level. However, notwithstanding the Debtor’s efforts, the Debtor has not been able to

  8   generate the revenues necessary to sustain operations at all of its existing Retail Stores.

  9          80.    The Debtor has analyzed the performance of its existing Retail Stores to determine

10    which of the Retail Stores are underperforming. Based upon such analysis, the Debtor has

11    identified a total of five (5) Retail Stores that are among the least profitable store locations and

12    which the Debtor has determined, in the exercise of its business judgment, should be closed

13    without delay (collectively, the “Closing Stores”). A list which identifies the Closing Stores

14    and their addresses, as well as the names and addresses of the landlords for the Closing Stores

15    is attached as Exhibit 6 hereto.

16           81.    The Debtor believes that the rent and other obligations payable under the Leases

17    are generally at or above the current market. Accordingly, the Debtor does not believe that the

18    marketing and assignment of the Leases to third parties would result in any net recovery for its

19    bankruptcy estate. As a result, the Debtor has determined that the cost to the Debtor of

20    continuing to occupy the Closing Stores, and of performing its obligations under the Leases for

21    the Closing Stores and incurring unnecessary administrative expenses, is burdensome, and that

22    rejection of the Leases for the Closing Stores is therefore in the best interests of the Debtor’s

23    estate and creditors.

24           82.    Given the Debtor’s determination that the Closing Stores are unprofitable store

25    locations, each day that such Closing Stores remain open results in significant financial losses

26    (and increased administrative expense) to the Debtor’s bankruptcy estate, which must be
27    avoided to preserve the value of the Debtor’s assets, conserve the Debtor’s resources and cash,

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  1   and maximize the Debtor’s ability to successfully reorganize in this case. As such, the Debtor

  2   has determined that having to file the motion to obtain Court authority to reject the Leases on

  3   regular notice would result in a material loss of the Debtor’s cash and accrual of administrative

  4   claims for unpaid rent, with no benefit to the estate. Accordingly, the Debtor is seeking relief

  5   on an expedited basis.

  6           83.    For the reasons noted above, the Debtor is seeking the entry of an order

  7   authorizing the Debtor to immediately reject the unexpired non-residential real property leases

  8   (collectively, the “Leases,” and individually a “Lease”) for the Closing Stores identified in

  9   Exhibit 6 hereto. Due to the large number and voluminous nature of the Leases, the Debtor has

10    not attached copies of the Leases. However, complete copies of one or more of the Leases will

11    be provided upon written request to counsel for the Debtor, whose contact information is set

12    forth on the upper left hand corner of the first page of this pleading.

13            84.    The Debtor seeks to reject each of the Leases for the Closing Stores effective as

14    of the Petition Date, as Debtor has already vacated the premises.

15            85.    The Debtor is continuing to evaluate the remaining leases and may elect to reject

16    other leases at a later date.

17            86.    The granting of Debtor’s motion to reject the leases is without prejudice to

18    landlords and parties in interest from asserting administrative claims at a later date. Debtor

19    reserves all rights, claims, and defenses.

20            87.    The Debtor believes that it has removed all owned personal property assets (the

21    “Remaining Personal Property”) located at the Closing Stores as of the Petition Date. However,

22    out of an abundance of caution and solely to the extent that the Debtor retained (or retains) any

23    ownership interest in any Remaining Personal Property, the Debtor seeks authority to abandon

24    any Remaining Personal Property that remain at the Closing Stores as of the Petition Date.

25            88.    The Debtor believes that the costs associated with liquidating any Remaining

26    Personal Property at the Closing Stores will likely approach or exceed the value of such assets.
27

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                                                      38
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  1   Accordingly, the Debtor believes that the Remaining Personal Property at the Closing Stores, if

  2   any, have inconsequential value to the Debtor’s estate and should be abandoned.

  3          I declare and verify under penalty of perjury that the foregoing is true and correct to the

  4   best of my knowledge, information and belief.

  5                                                        Morristown
            Executed on this 18th day of January 2022, at _______________,  New Jersey
                                                                           ____________.

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                                                           Kevin Walsh, Declarant
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                                 Exhibit 1
                                              Case 2:22-bk-10266-BB                                    Doc 16 Filed 01/18/22 Entered 01/18/22 17:36:22                                                                                Desc
                                                                                                               Confidential and Privileged
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  1      Escada America LLC
  2      Cash flow Projections
  3      $ in Thousands, Except per Unit Data                                  WE             WE             WE             WE             WE              WE             WE             WE             WE             WE             WE             WE             WE               TOTAL
  4      Fcst / Act                                                           FCST           FCST           FCST           FCST           FCST            FCST           FCST           FCST           FCST           FCST           FCST           FCST           FCST              FCST
  5      Projection Week                                                        1              2              3              4              5               6              7              8              9             10             11             12             13                 13
  6      Week Ending                                                        01/21/22        01/28/22       02/04/22       02/11/22       02/18/22        02/25/22       03/04/22       03/11/22       03/18/22       03/25/22       04/01/22       04/08/22       04/15/22          04/15/22
  7
  8      Beginning Cash (1)                                                    $1,029           $994         $1,000           $903           $949            $917           $928           $844           $890           $873           $864           $796           $842             $1,029
  9
  10           ( + ) FP Receipts                                                    $72            $72            $72            $72            $72             $72            $72            $72            $72            $72            $72            $72            $72            $930
  11           ( + ) OU Receipts                                                       -               -              -              -              -               -              -              -              -              -              -              -              -                 -
  12           ( + ) WHS Receipts                                                      -               -              -              -              -               -              -              -              -              -              -              -              -                 -
  13           ( + ) Other Receipts (2)                                                -            20                -              -              -            20                -              -              -              -          20                 -              -              60
  14     Total Receipts                                                             $72            $92            $72            $72            $72             $92            $72            $72            $72            $72            $92            $72            $72            $990
  15
  16           ( - ) Consignment Fee                                                 $0             $0             $0             $0              $0             $0             $0             $0             $0            $0             $0             $0              $0                $0
  17           ( - ) HQ Personnel                                                      -            (20)              -           (20)              -            (20)              -           (20)              -          (20)               -          (20)               -           (120)
  18           ( - ) Store Personnel                                                 (33)              -           (33)              -            (33)              -           (33)              -           (33)              -          (33)               -          (33)            (230)
  19           ( - ) Store Retention Bonus 2 (3)                                     (13)              -           (13)              -            (14)              -           (14)              -           (19)              -          (19)               -          (11)            (102)
  20           ( - ) Store Retention Bonus 1 (3)                                       -               -              -              -            (18)              -              -              -              -              -              -              -              -              (18)
  21           ( - ) Selling and Shipping                                             (3)            (3)            (3)            (3)             (3)            (3)            (3)            (3)            (3)           (3)            (3)            (3)            (3)               (33)
  22           ( - ) Store Rent                                                        -               -           (97)              -              -               -           (97)              -              -              -          (97)               -              -           (291)
  23           ( - ) Financial Charges                                                (1)            (1)            (1)            (1)             (1)            (1)            (1)            (1)            (1)           (1)            (1)            (1)            (1)               (14)
  24           ( - ) Benefits                                                          -            (55)              -              -              -            (55)              -              -              -          (55)               -              -              -           (165)
  25           ( - ) Misc. (Facilities & Other) (4)                                  (57)            (2)            (2)            (2)             (2)            (2)            (2)            (2)            (2)           (2)            (2)            (2)            (2)               (81)
  26           ( - ) Utilities, Telephones, Networks                                   -             (5)           (21)              -              -               -            (5)              -              -              -           (5)               -              -              (36)
  27           ( - ) Taxes                                                             -               -              -              -            (33)              -              -              -           (32)              -              -              -          (26)               (91)
  28     Total Disbursements                                                    ($106)             ($86)      ($169)             ($26)      ($104)              ($81)      ($155)             ($26)          ($89)       ($81)         ($159)          ($26)          ($75)           ($1,180)
  29
  30     Weekly Net Operating Cash                                                  ($35)           $6            ($98)          $46            ($32)           $11            ($83)          $46            ($18)          ($9)        ($67)             $46            ($4)           ($190)
  31
  32     Ending Cash                                                             $994         $1,000           $903           $949           $917            $928           $844           $890           $873           $864           $796           $842           $839              $839
  33
  34     (1) For 1/21/22, based on 1/14 cash balances from JPM.
  35     (2) Liquidation sales to 3rd party retailers.
  36     (3) Store retention bonuses developed to retain key talent.
  37     (4) For the week ending 1/21/22, includes one time shipping, closing and supply purchases.




Escada America CF (1-15-22 Draft)                                                                                                        1 of 1                                                                                                                                  1/16/2022 2:49 PM
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                                 Exhibit 2
                                               Case 2:22-bk-10266-BB                      Doc 16 Filed 01/18/22 Entered 01/18/22 17:36:22                                                          Desc
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                                                                                                            DIRECT         DIRECT                                      ADDITIONAL                                          ADDITIONAL     ADDITIONAL   ADDITIONAL
COMPANY                                                     CHECK/VOUCHER                                                                        REGULAR    OVERTIME                               REGULAR      OVERTIME
          FILE NUMBER   POSITION ID   DIST #   PAY DATE                     GROSS PAY       TAKE HOME DEPOSIT : CK1- DEPOSIT : CK2-    NET PAY                         HOURS : V-   TOTAL HOURS                          EARNINGS : 7N EARNINGS : AU EARNINGS : BN
CODE                                                           NUMBER                                                                              HOURS      HOURS                                EARNINGS     EARNINGS
                                                                                                      DD CHECKING 1 DD CHECKING 2                                       VACATION                                          SALES COMM     AUTO ALLOW         BONUS
RW6         000223      RW6000223       1      12/15/2021      00490003        2,254.75        1,535.33                     1,535.33      0.00      75.83                    7.00          82.83     2,254.75
RW6         010640      RW6010640       1      12/15/2021      00490004        5,075.00        3,544.43        200.00       3,344.43      0.00      75.83                                  75.83     5,075.00
RW6         010768      RW6010768       1      12/15/2021      00490002       11,940.58        8,688.15      8,688.15                     0.00      80.00                                  80.00     4,583.34                                  300.00      6,987.24
RW6         010604      RW6010604       1      12/15/2021      00490001        8,333.34        5,324.38      5,324.38                     0.00      75.83                                  75.83     8,333.34
RW6         000223      RW6000223       1      12/30/2021      00520003        4,655.63        1,351.67                     1,351.67      0.00      75.83                    7.00          82.83     2,254.75                                2,400.88
RW6         010640      RW6010640       1      12/30/2021      00520004        5,752.88        3,492.58        200.00       3,292.58      0.00      75.83                                  75.83     5,075.00                                  677.88
RW6         010768      RW6010768       1      12/30/2021      00520002        5,972.39        3,762.13      3,762.13                     0.00      80.00                                  80.00     4,583.34                    300.00      1,019.05        70.00
RW6         010604      RW6010604       1      12/30/2021      00520001        8,333.34        5,324.37      5,324.37                     0.00      75.83                                  75.83     8,333.34
RW6         000223      RW6000223       1      01/14/2022      00020003        2,254.75        1,553.14                     1,553.14      0.00      75.83                    7.00          82.83     2,254.75
RW6         010640      RW6010640       1      01/14/2022      00020004        5,075.00        3,540.88        200.00       3,340.88      0.00      75.83                                  75.83     5,075.00
RW6         010768      RW6010768       1      01/14/2022      00020002        6,453.34        4,913.63      4,913.63                     0.00      80.00                                  80.00     4,583.34                    300.00      1,500.00        70.00
RW6         010604      RW6010604       1      01/14/2022      00020001        8,333.34        4,799.39      4,799.39                     0.00      75.83                                  75.83     8,333.34




Due to the large number of columns in this spreadsheet, it is printed to two parts.
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                                                               Case 2:22-bk-10266-BB                                       Doc 16 Filed 01/18/22 Entered 01/18/22 17:36:22                                                                                  Desc
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                                                                                                                                                                             VOLUNTARY                    VOLUNTARY
  ADDITIONAL                       FEDERAL LIVED IN LOCAL                     SOCIAL                    WORKED IN FAMILY LEAVE                 VOLUNTARY       VOLUNTARY                   VOLUNTARY                     VOLUNTARY           TOTAL
                    TOTAL                                    MEDICARE -                    SUI/SDI -                                  TOTAL                                  DEDUCTION :                  DEDUCTION :                                              MEMO : H- MEMO : X-MAX
EARNINGS : O-                      INCOME -   - EMPLOYEE                   SECURITY -                      STATE -  INSURANCE -              DEDUCTION : 75    DEDUCTION :               DEDUCTION : L1                  DEDUCTION :     VOLUNTARY MEMO : G-GTL                           TOTAL MEMOS
                 EARNINGS                                 EMPLOYEE TAX                EMPLOYEE TAX                              EMPLOYEE TAX                                     FS-FSA                     MED-S125                                               HRS*WRK     ELIG/COMP
      OTHER                   EMPLOYEE TAX            TAX               EMPLOYEE TAX                 EMPLOYEE TAX EMPLOYEE TAX                   SUPPORT$      DNT-DENTAL                    401K LOAN                VIS-S125 VISION    DEDUCTIONS
                                                                                                                                                                                MEDICAL                      MEDICAL
                   2,254.75           127.45         59.09         29.19       124.80          1.30         84.46         11.52        437.81                         6.50         20.83          39.32        214.02             0.94        281.61        0.45                  2,254.75     2,255.20
                   5,075.00           578.83                       68.95       294.83          1.30        261.46                     1,205.37                        6.50                                      317.76            0.94        325.20        5.39                  5,075.00     5,080.39
        70.00     11,940.58         2,038.47                      168.46       720.30                                                 2,927.23                        6.50                                      317.76            0.94        325.20        2.40                                  2.40
                   8,333.34         1,804.80                      116.08                                   452.92                     2,373.80       290.34           7.80                                      336.02            1.00        635.16       17.24                  8,333.34     8,350.58
      4,655.63      127.45             59.09         64.00        273.65         1.30         84.46         11.52        621.47                     2,400.88          6.50         20.83          39.32         214.02            0.94       2,682.49       0.45    2,254.75      2,255.20
      5,752.88      578.83                           78.78        336.85         1.30        261.46                     1,257.22                     677.88           6.50                                      317.76            0.94       1,003.08       5.39    5,075.00      5,080.39
      5,972.39      433.82                           81.92        350.27                                                 866.01                     1,019.05          6.50                                      317.76            0.94       1,344.25       2.40    4,653.34      4,655.74
      8,333.34     1,804.80                         116.09                                   452.92                     2,373.81       290.34                         7.80                                      336.02            1.00        635.16       17.24     8,333.34     8,350.58
      2,254.75      127.68             59.95         29.49        126.09         1.30         84.72         11.52                      440.75                         6.50          0.08          39.32         214.02                          0.94      260.86        0.45      2,254.75     2,255.20
      5,075.00      560.55                           68.99        295.00         1.30        257.15         25.93                     1,208.92                        6.50                                      317.76                          0.94      325.20        8.27      5,075.00     5,083.27
      6,453.34      745.53                           88.89        380.09                                                              1,214.51                        6.50                                      317.76                          0.94      325.20        2.40      4,653.34     4,655.74
      8,333.34     1,774.67                         116.08        496.36                     452.92         11.67         35.42       2,887.12       290.34           7.80                                      336.02           11.67          1.00      646.83       17.24      8,333.34     8,350.58




Due to the large number of columns in this spreadsheet, it is printed to two parts.
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                                          Case 2:22-bk-10266-BB                                         Doc 16 Filed 01/18/22 Entered 01/18/22 17:36:22                                                                   Desc
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                                                                                                                                                                        ADDITION          ADDITION                                       ADDITION                     ADDITION
                                                                               DIRECT   DIRECT   DIRECT   DIRECT   DIRECT                                     ADDITION                                                         ADDITION            ADDITION ADDITION
                                                                                                                                                                              AL ADDITION       AL                     OVERTIM                  AL                           AL
                                                 CHECK/V                     DEPOSIT DEPOSIT DEPOSIT DEPOSIT DEPOSIT                                                 AL                                      REGULAR                  AL                  AL      AL
COMPAN     FILE POSITION              PAY                   GROSS       TAKE                                                                  REGULAR OVERTIM            HOURS :       AL HOURS :     TOTAL                  E           EARNING                      EARNING
                            DIST #               OUCHER                      : CK1-DD : CK2-DD : CK3-DD : SV1-DD : SV2-DD            NET PAY                  HOURS :                                        EARNING           EARNING             EARNING EARNING
Y CODE   NUMBER    ID                 DATE                    PAY       HOME                                                                    HOURS E HOURS                PR- HOURS :         V-   HOURS            EARNING             S : 7N-                      S : PR-
                                                 NUMBER                      CHECKIN CHECKIN CHECKIN SAVINGS SAVINGS                                                7H-                                              S           S : 7H-             S : BN-   S : O-
                                                                                                                                                                        PERSONA SK-SICK VACATIO                              S             SALES                      PERSONA
                                                                                  G1       G2       G3         1        2                                     HOLIDAY                                                          HOLIDAY               BONUS    OTHER
                                                                                                                                                                               L                 N                                         COMM                               L
RW7      000340   RW70003     1      12/10/202   00490023   2,492.40   1,405.66   1,405.66                                               0.00    59.50             7.50                                67.00    833.00            375.00 1,575.32             -290.92
                    40                   1
RW7      010788   RW70107     1      12/10/202   00490043   1,422.02   1,110.96   1,110.96                                               0.00    66.08                                                 66.08   1,189.44                      232.58
                    88                   1
RW7      010755   RW70107     1      12/10/202   00490003   3,653.85   2,409.48   2,409.48                                               0.00    76.00              8.00              4.00             88.00   3,653.85
                    55                   1
RW7      010317   RW70103     1      12/10/202   00490024   1,349.87   1,083.24   1,083.24                                               0.00    59.17              7.00                               66.17   1,207.07            142.80
                    17                   1
RW7      010793   RW70107     1      12/10/202   00490025   1,526.00   1,110.26   1,110.26                                               0.00    68.33     1.17     7.00                               76.50   1,024.95   26.33    105.00    369.72
                    93                   1
RW7      010670   RW70106     1      12/10/202   00490045   2,755.02   2,092.54   2,092.54                                               0.00    71.50              7.50                               79.00   1,144.00            150.00    961.02    500.00
                    70                   1
RW7      010780   RW70107     1      12/10/202   00490004    515.27     442.59     442.59                                                0.00    33.25                                                 33.25    399.00                       116.27
                    80                   1
RW7      010761   RW70107     1      12/10/202   00490005   1,274.86    920.68     920.68                                                0.00    54.50              7.00     7.00                      68.50    817.50             105.00    247.36                       105.00
                    61                   1
RW7      010782   RW70107     1      12/10/202   00490006   1,815.85   1,511.50   1,511.50                                               0.00    69.75              7.50                               77.25   1,464.75            157.50    193.60
                    82                   1
RW7      010440   RW70104     1      12/10/202   00490039   2,145.66   1,259.97   1,259.97                                               0.00    74.75     0.67     7.50                               82.92   1,046.50   14.07    187.50    897.59
                    40                   1
RW7      010800   RW70108     1      12/10/202   00490026    424.95     387.35     387.35                                                0.00    28.33                                                 28.33    424.95
                    00                   1
RW7      010773   RW70107     1      12/10/202   00490010   3,653.85   2,855.30   2,855.30                                               0.00    80.00              8.00                               88.00   3,653.85
                    73                   1
RW7      010721   RW70107     1      12/10/202   00490027   4,423.08   3,216.07   3,216.07                                               0.00    80.00              8.00                               88.00   4,423.08
                    21                   1
RW7      010648   RW70106     1      12/10/202   00490019   2,692.31   1,125.54   1,125.54                                               0.00    80.00              8.00                               88.00   2,692.31
                    48                   1
RW7      010771   RW70107     1      12/10/202   00490034   1,959.37   1,528.58   1,528.58                                               0.00    64.92              8.00                       4.00    76.92   1,623.00            200.00     36.37
                    71                   1
RW7      001692   RW70016     1      12/10/202   00490029    777.00     598.74     598.74                                                0.00    30.00              7.00                               37.00    630.00             147.00
                    92                   1
RW7      010794   RW70107     1      12/10/202   00490040   1,313.43   1,076.85   1,076.85                                               0.00    72.58     1.75                                        74.33   1,016.12   36.75              260.56
                    94                   1
RW7      010161   RW70101     1      12/10/202   00490032   1,196.48    587.60     587.60                                                0.00    60.33              7.50                               67.83    844.62             150.00    201.86
                    61                   1
RW7      010775   RW70107     1      12/10/202   00490011   1,630.16   1,222.01   1,222.01                                               0.00    61.25              8.00                               69.25   1,286.25            168.00    175.91
                    75                   1
RW7      000435   RW70004     1      12/10/202   00490030   4,142.15   2,417.07   2,367.07                         50.00                 0.00    63.33              7.50                               70.83   1,899.90            375.00   1,867.25
                    35                   1
RW7      010668   RW70106     1      12/10/202   00490020    665.84     614.91     614.91                                                0.00    41.83                                                 41.83    543.79                       122.05
                    68                   1
RW7      010801   RW70108     1      12/10/202   00490031   1,314.00   1,121.39   1,121.39                                               0.00    65.50              7.50                               73.00   1,179.00            135.00
                    01                   1
RW7      010567   RW70105     1      12/10/202   00490007   1,180.03    895.60     895.60                                                0.00    60.00              7.00                               67.00    870.00             101.50    208.53
                    67                   1
RW7      001203   RW70012     1      12/10/202   00490035   2,254.97   1,396.65                         246.65    500.00    650.00      0.00     55.58              7.50                       8.00    71.08    778.12             187.50   1,089.35
                    03                   1
RW7      010776   RW70107     1      12/10/202   00490014   1,472.22    599.69     599.69                                                0.00    67.83     1.92                                        69.75   1,153.11   48.96              270.15
                    76                   1
RW7      010090   RW70100     1      12/10/202   00490001   1,672.00   1,248.14   1,248.14                                               0.00    64.00             16.00                               80.00   1,337.60            334.40
                    90                   1
RW7      010770   RW70107     1      12/10/202   00490012   2,187.22   1,630.95   1,630.95                                               0.00    63.33              8.00                               71.33   1,836.57            232.00    118.65
                    70                   1
RW7      010769   RW70107     1      12/10/202   00490036   3,461.54   2,469.58   2,469.58                                               0.00                       8.00                                8.00   3,461.54
                    69                   1
RW7      010789   RW70107     1      12/10/202   00490013    824.83     698.69     698.69                                                0.00    35.00                                                 35.00    630.00                       194.83
                    89                   1
RW7      020100   RW70201     1      12/10/202   21813414   1,364.94   1,098.70                                                      1,098.70    67.83              8.00                               75.83   1,220.94            144.00
                    00                   1
RW7      010792   RW70107     1      12/10/202   00490008    726.20     646.29     646.29                                                0.00    34.17                                                 34.17    615.06                       111.14
                    92                   1
RW7      010757   RW70107     1      12/10/202   00490041   2,494.01   1,823.56   1,823.56                                               0.00    73.67     0.50     7.00                               81.17   1,473.40   15.00    140.00    865.61
                    57                   1
RW7      010787   RW70107     1      12/10/202   00490038   3,846.15   3,160.73   3,160.73                                               0.00    72.00              8.00                       8.00    88.00   3,846.15
                    87                   1
RW7      010062   RW70100     1      12/10/202   00490046   3,985.26   2,609.72   2,609.72                                               0.00    80.00              8.00                               88.00   1,440.00            200.00   1,745.26   600.00
                    62                   1
RW7      002904   RW70029     1      12/10/202   00490015   2,884.62   2,199.20                                  2,199.20                0.00    80.00              8.00                               88.00   2,884.62
                    04                   1
RW7      000204   RW70002     1      12/10/202   00490042    614.21     545.30     545.30                                                0.00    20.92                                                 20.92    614.21
                    04                   1
RW7      010686   RW70106     1      12/10/202   00490044   3,730.77   2,512.80              1,512.80            1,000.00                0.00    80.00              8.00                               88.00   3,730.77
                    86                   1
RW7      010744   RW70107     1      12/10/202   00490021   1,722.82   1,406.45   1,406.45                                               0.00    66.33              7.00                               73.33   1,193.94            126.00    402.88
                    44                   1
RW7      001029   RW70010     1      12/10/202   00490028   2,372.24   1,629.46   1,629.46                                               0.00    62.25              7.50                               69.75    871.50             262.50   1,404.97            -166.73
                    29                   1
RW7      000313   RW70003     1      12/10/202   00490002   3,565.65   2,431.80   2,431.80                                               0.00    72.00              8.00                       8.00    88.00   3,565.65
                    13                   1



Due to the large number of columns in this spreadsheet, it is printed to two parts.
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                                  Case 2:22-bk-10266-BB                              Doc 16 Filed 01/18/22 Entered 01/18/22 17:36:22                                                   Desc
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RW7   001299   RW70012   1   12/10/202   00490033   1,958.30   1,099.10   1,099.10                             0.00   66.58    0.17    7.50                         74.25    932.12     3.57     375.00     647.61
                 99              1
RW7   010651   RW70106   1   12/10/202   00490022   1,345.53   1,028.95   1,028.95                             0.00   66.50    0.58    7.00                         74.08    931.00    12.18      98.00     304.35
                 51              1
RW7   010791   RW70107   1   12/10/202   00490016   1,768.44   1,395.84   1,395.84                             0.00   42.25            7.00                 23.36   72.61    929.50              154.00     171.02
                 91              1
RW7   010650   RW70106   1   12/10/202   25069850   1,148.83    889.59                                      889.59    54.75                                         54.75    766.50                         382.33
                 50              1
RW7   010560   RW70105   1   12/10/202   00490009   1,166.22    861.09     861.09                              0.00   48.08            7.00   7.00   3.00           65.08    697.16              101.50     222.56                        101.50
                 60              1
RW7   010736   RW70107   1   12/10/202   00490037    246.30     212.25     212.25                              0.00   16.42                                         16.42    246.30
                 36              1
RW7   001759   RW70017   1   12/10/202   65265197   5,486.00   4,076.72                                    4,076.72   66.33            7.50                         73.83                        750.00    4,736.00
                 59              1
RW7   010075   RW70100   1   12/10/202   00490047   3,212.08   2,094.77   2,094.77                             0.00   80.00            8.00                         88.00   3,212.08
                 75              1
RW7   002731   RW70027   1   12/10/202   00490017   1,813.50   1,381.95   1,381.95                             0.00   64.75    0.50    7.50                  8.00   80.75   1,295.00   15.00     150.00     193.50
                 31              1
RW7   010784   RW70107   1   12/10/202   00490018    454.74     414.51     414.51                              0.00   22.92                                         22.92    320.88                         133.86
                 84              1
RW7   020003   RW70200   1   01/05/202   05340706    -197.30    -182.21                                     -182.21                                                                                                             -197.30
                 03              2
RW7   020003   RW70200   1   01/05/202   05343336    197.30     182.21                                      182.21                                                                                                              197.30
                 03              2
RW7   020003   RW70200   1   01/05/202   05342129    -543.40    -495.76                                     -495.76   -27.17                                                           -27.17    -543.40
                 03              2
RW7   020003   RW70200   1   01/05/202   05343335    543.40     495.76                                      495.76    27.17                                                            27.17     543.40
                 03              2
RW7   000340   RW70003   1   01/07/202   00014024   3,923.00   2,119.81   2,119.81                             0.00   49.00    0.50   15.00                                            64.50     686.00      10.50    750.00   2,767.42
                 40              2
RW7   010788   RW70107   1   01/07/202   00014044   1,080.00    866.04     866.04                              0.00   60.00                                                            60.00    1,080.00
                 88              2
RW7   010755   RW70107   1   01/07/202   00014004   3,653.85   2,417.93   2,417.93                             0.00   72.00           16.00                  8.00                      96.00    3,653.85
                 55              2
RW7   010317   RW70103   1   01/07/202   00014025   1,995.00   1,536.07   1,536.07                             0.00   57.25           14.00                                            71.25    1,603.00              392.00
                 17              2
RW7   010793   RW70107   1   01/07/202   00014026   1,159.38    839.64     839.64                              0.00   61.33    0.33   14.00                                            75.66     919.95        7.43   210.00     22.00
                 93              2
RW7   010670   RW70106   1   01/07/202   00014046   1,974.07   1,515.32   1,515.32                             0.00   46.67           15.00                 15.00                      76.67     746.72               300.00    127.35    500.00
                 70              2
RW7   010780   RW70107   1   01/07/202   00014005    659.80     563.15     563.15                              0.00   43.17                                                            43.17     518.04                         141.76
                 80              2
RW7   010761   RW70107   1   01/07/202   00014006   1,317.06    956.61     956.61                              0.00   59.75           14.00                                            73.75     896.25               210.00    210.81
                 61              2
RW7   010782   RW70107   1   01/07/202   00014007   1,790.80   1,493.94   1,493.94                             0.00   54.92           15.00          7.50                              77.42    1,153.32              315.00    164.98
                 82              2
RW7   010440   RW70104   1   01/07/202   00014040   2,584.16   1,529.23   1,529.23                             0.00   73.58    0.67   15.00                                            89.25    1,030.12     14.07    375.00   1,164.97
                 40              2
RW7   010800   RW70108   1   01/07/202   00014027    312.45     285.11     285.11                              0.00   20.83                                                            20.83     312.45
                 00              2
RW7   010773   RW70107   1   01/07/202   00014011   3,653.85   2,862.55   2,862.55                             0.00   80.00           16.00                                            96.00    3,653.85
                 73              2
RW7   010721   RW70107   1   01/07/202   00014028   4,423.08   3,244.04   3,244.04                             0.00   80.00           16.00                                            96.00    4,423.08
                 21              2
RW7   010648   RW70106   1   01/07/202   00014020   2,692.31    975.43     975.43                              0.00   64.00           16.00                                   16.00    96.00    2,692.31
                 48              2
RW7   010771   RW70107   1   01/07/202   00014036   1,452.37   1,123.84   1,123.84                             0.00   40.67           16.00                                            56.67    1,016.75              400.00     35.62
                 71              2
RW7   001692   RW70016   1   01/07/202   00014031    696.57     541.27     541.27                              0.00    5.17           14.00                                   14.00    33.17     108.57               294.00
                 92              2
RW7   010794   RW70107   1   01/07/202   00014041   2,192.24   1,712.77   1,712.77                             0.00   72.58    0.17                                                    72.75    1,021.95       3.57            1,166.72
                 94              2
RW7   010161   RW70101   1   01/07/202   00014033   1,168.38    569.39     569.39                              0.00   36.75           15.00                          3.00              54.75     514.50               300.00    308.88
                 61              2
RW7   010775   RW70107   1   01/07/202   00014012   1,707.82   1,282.18   1,282.18                             0.00   61.00           16.00                                            77.00    1,281.00              336.00     90.82
                 75              2
RW7   020101   RW70201   1   01/07/202   00014034    825.88     719.25     719.25                              0.00   36.67    0.58                                                    37.25     806.74      19.14
                 01              2
RW7   010668   RW70106   1   01/07/202   00014021    161.03     148.72     148.72                              0.00    9.42                                                             9.42     122.46                          38.57
                 68              2
RW7   010801   RW70108   1   01/07/202   00014032   1,962.08   1,644.20   1,644.20                             0.00   56.92           15.00                                            71.92    1,024.56              270.00    667.52
                 01              2
RW7   010567   RW70105   1   01/07/202   00014008   1,251.18    954.85     954.85                              0.00   55.58           14.00                  3.50                      73.08     805.91               203.00    191.52
                 67              2
RW7   001203   RW70012   1   01/07/202   00014037   1,521.98    921.52                   271.52   650.00       0.00   41.50           15.00                                   12.00    68.50     581.00               375.00    265.98
                 03              2
RW7   010776   RW70107   1   01/07/202   00014015   1,294.72    528.99     528.99                              0.00   68.25                                                            68.25    1,160.25                        134.47
                 76              2
RW7   010090   RW70100   1   01/07/202   00014002   1,672.00   1,246.79   1,246.79                             0.00   64.00           16.00                                            80.00    1,337.60              334.40
                 90              2
RW7   010770   RW70107   1   01/07/202   00014013   2,665.52   1,946.70   1,946.70                             0.00   72.92           16.00                                            88.92    2,114.68              464.00     86.84
                 70              2
RW7   010769   RW70107   1   01/07/202   00014038   3,461.54   2,478.03   2,478.03                             0.00                   16.00                                   28.00    44.00    3,461.54
                 69              2
RW7   020003   RW70200   1   01/07/202   05343620    128.40     118.58                                      118.58     6.42                                                             6.42     128.40
                 03              2



Due to the large number of columns in this spreadsheet, it is printed to two parts.
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                                  Case 2:22-bk-10266-BB                                            Doc 16 Filed 01/18/22 Entered 01/18/22 17:36:22                              Desc
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RW7   020003   RW70200   1   01/07/202   05343621   1,717.84    1,447.95                                         1,447.95   59.58           14.00                               73.58    1,191.60             280.00     246.24
                 03              2
RW7   010704   RW70107   1   01/07/202   00014016     851.05      691.72      691.72                                 0.00   39.83                                               39.83      637.28                        213.77
                 04              2
RW7   020100   RW70201   1   01/07/202   00014014   1,528.03    1,221.89    1,221.89                                 0.00   61.42           16.00                               77.42    1,105.56             288.00     134.47
                 00              2
RW7   010792   RW70107   1   01/07/202   00014009     742.98      661.66      661.66                                 0.00   37.58                                               37.58      676.44                         66.54
                 92              2
RW7   010757   RW70107   1   01/07/202   00014042   1,962.96    1,427.40    1,427.40                                 0.00   62.08           14.00                               76.08    1,241.60             280.00     441.36
                 57              2
RW7   010787   RW70107   1   01/07/202   00014039   3,846.15    3,172.69    3,172.69                                 0.00   72.00           16.00          8.00                 96.00    3,846.15
                 87              2
RW7   010062   RW70100   1   01/07/202   00014047   4,125.03    2,775.84    2,775.84                                 0.00   79.25    2.67   16.00                               97.92    1,426.50    72.09    400.00    1,626.44    600.00
                 62              2
RW7   002904   RW70029   1   01/07/202   00014017   2,884.62    2,208.90                              2,208.90       0.00   80.00           16.00                               96.00    2,884.62
                 04              2
RW7   020002   RW70200   1   01/07/202   00014001   2,797.08    2,359.73    2,359.73                                 0.00   55.92           14.00                               69.92    1,621.68             406.00     769.40
                 02              2
RW7   000204   RW70002   1   01/07/202   00014043     783.03      681.46      681.46                                 0.00   26.67                                               26.67      783.03
                 04              2
RW7   010686   RW70106   1   01/07/202   00014045   3,730.77    2,522.63                1,522.63      1,000.00       0.00   64.00           16.00                               80.00    3,730.77
                 86              2
RW7   010744   RW70107   1   01/07/202   00014022     869.18      684.70      684.70                                 0.00   29.33           14.00                               43.33      527.94             252.00      89.24
                 44              2
RW7   001029   RW70010   1   01/07/202   00014029   1,211.62      837.38      837.38                                 0.00   52.50            7.50                               60.00      735.00             262.50     380.85
                 29              2
RW7   001029   RW70010   1   01/07/202   00014030     262.50      193.85      193.85                                 0.00                    7.50                                7.50                         262.50
                 29              2
RW7   000313   RW70003   1   01/07/202   00014003   3,565.65    2,432.95    2,432.95                                 0.00   80.00           16.00                               96.00    3,565.65
                 13              2
RW7   001299   RW70012   1   01/07/202   00014035   2,704.37    1,634.44    1,634.44                                 0.00   49.58            7.50          7.50   3.00          67.58      694.12             375.00    1,218.25
                 99              2
RW7   010651   RW70106   1   01/07/202   00014023   1,987.95    1,495.90    1,495.90                                 0.00   68.92    4.33   14.00                               87.25      964.88    90.93    196.00     736.14
                 51              2
RW7   010650   RW70106   1   01/07/202   25070693   1,088.55      809.97                                          809.97    56.25                                               56.25      787.50                        301.05
                 50              2
RW7   010560   RW70105   1   01/07/202   00014010   1,137.52      844.39      844.39                                 0.00   48.33           14.00          3.50                 65.83      700.79             203.00     182.98
                 60              2
RW7   001759   RW70017   1   01/07/202   65267311   4,152.50    3,191.73                                         3,191.73   59.50           15.00                               74.50                        1,500.00   2,652.50
                 59              2
RW7   010075   RW70100   1   01/07/202   00014048   3,212.08    2,066.26    2,066.26                                 0.00   80.00           16.00                               96.00    3,212.08
                 75              2
RW7   002731   RW70027   1   01/07/202   00014018   1,900.64    1,452.00    1,452.00                                 0.00   56.83    0.50   15.00                        7.50   79.83    1,136.60    15.00    300.00     299.04
                 31              2
RW7   010784   RW70107   1   01/07/202   00014019     664.01      589.31      589.31                                 0.00   42.00                                               42.00      588.00                         76.01
                 84              2
RW7   010801   RW70108   1   12/13/202   00494001     336.16      310.44      310.44                                 0.00                                                                                                336.16
                 01              1
RW7   010800   RW70108   1   12/15/202   00500001     138.36      126.12      126.12                                 0.00                                                                                                138.36
                 00              1
RW7   000297   RW70002   1   12/15/202   00500002     142.50      130.49      130.49                                 0.00    7.50                                                7.50      142.50
                 97              1
RW7   010789   RW70107   1   12/15/202   00470013   -1,394.52   -1,120.55   -1,120.55                                0.00   -66.08                                              -66.08   -1,189.44                       -205.08
                 89              1
RW7   010789   RW70107   1   12/15/202   00490013    -824.83     -698.69     -698.69                                 0.00   -35.00                                              -35.00    -630.00                        -194.83
                 89              1
RW7   020100   RW70201   1   12/15/202   00000000   1,394.52    1,120.55    1,120.55                                 0.00   66.08                                               66.08    1,189.44                        205.08
                 00              1
RW7   020100   RW70201   1   12/15/202   00000000     824.83      698.69      698.69                                 0.00   35.00                                               35.00      630.00                        194.83
                 00              1
RW7   020100   RW70201   1   12/15/202   21771041    -630.00     -548.74                                          -548.74   -35.00                                              -35.00    -630.00
                 00              1
RW7   000340   RW70003   1   12/23/202   00510023   1,732.26      970.84      970.84                                 0.00   59.50                                               59.50      833.00                       1,190.18
                 40              1
RW7   010788   RW70107   1   12/23/202   00510043   1,257.52      992.20      992.20                                 0.00   65.50                                               65.50    1,179.00                         78.52
                 88              1
RW7   010755   RW70107   1   12/23/202   00510003   7,518.15    4,789.37    4,789.37                                 0.00                           8.00                         8.00    3,653.85                                  3,536.16
                 55              1
RW7   010317   RW70103   1   12/23/202   00510024   2,034.76    1,555.86    1,555.86                                 0.00   72.67                                               72.67    2,034.76
                 17              1
RW7   010793   RW70107   1   12/23/202   00510025   1,597.48    1,163.71    1,163.71                                 0.00   72.42                                               72.42    1,086.30                        511.18
                 93              1
RW7   010670   RW70106   1   12/23/202   00510045   3,001.95    2,263.04    2,263.04                                 0.00   79.67                                               79.67    1,274.72                       1,227.23    500.00
                 70              1
RW7   010780   RW70107   1   12/23/202   00510004     497.78      428.19      428.19                                 0.00   39.25                                               39.25      471.00                         26.78
                 80              1
RW7   010761   RW70107   1   12/23/202   00510005   1,770.46      877.26      877.26                                 0.00   65.33                   7.00                        72.33      979.95                        183.49
                 61              1
RW7   010782   RW70107   2   12/23/202   00510006     360.41      296.79      296.79                                 0.00   15.67                                               15.67      360.41
                 82              1
RW7   010782   RW70107   1   12/23/202   00510006   1,364.58    1,139.87    1,139.87                                 0.00   53.08                   7.50                        60.58    1,114.68                         92.40
                 82              1
RW7   010440   RW70104   1   12/23/202   00510039   2,008.92    1,178.23    1,178.23                                 0.00   63.83    0.50                  8.00                 72.33      893.62    10.50               904.80
                 40              1
RW7   010800   RW70108   1   12/23/202   00510026     458.79      418.17      418.17                                 0.00   30.58    0.08                                       30.66      458.70     1.80                 -1.71
                 00              1


Due to the large number of columns in this spreadsheet, it is printed to two parts.
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                                  Case 2:22-bk-10266-BB                                          Doc 16 Filed 01/18/22 Entered 01/18/22 17:36:22                                                 Desc
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RW7   010773   RW70107   1   12/23/202   00510010    7,339.61   4,524.10   4,524.10                                               0.00   68.00                  4.00                     8.00    80.00   3,653.85                      2,725.66
                 73              1
RW7   010721   RW70107   1   12/23/202   00510027    6,786.68   4,608.72   4,608.72                                               0.00   80.00                                                   80.00   4,423.08                      2,363.60
                 21              1
RW7   010648   RW70106   1   12/23/202   00510019    4,135.89   2,183.94   2,183.94                                               0.00   80.00                                                   80.00   2,692.31                      1,443.58
                 48              1
RW7   010771   RW70107   1   12/23/202   00510035    2,191.26   1,771.27   1,771.27                                               0.00   65.50                                          16.00    81.50   1,637.50            153.76
                 71              1
RW7   001692   RW70016   1   12/23/202   00510029    1,090.32    823.01     823.01                                                0.00   36.92                          5.00            10.00    51.92    775.32
                 92              1
RW7   010794   RW70107   1   12/23/202   00510040    1,481.95   1,202.40   1,202.40                                               0.00   73.58   2.50                                            76.08   1,030.12   52.50    399.33
                 94              1
RW7   010161   RW70101   1   12/23/202   00510033    1,346.11    690.10     690.10                                                0.00   64.17   0.08                                            64.25    898.38     1.68    446.05
                 61              1
RW7   010775   RW70107   1   12/23/202   00510011    1,568.67   1,176.57   1,176.57                                               0.00   63.83                          6.00                     69.83   1,340.43            102.24
                 75              1
RW7   000435   RW70004   1   12/23/202   00510030    3,903.21   2,267.64   2,217.64                        50.00                  0.00   58.92                  0.50                     5.50    64.92   1,767.60           1,835.61
                 35              1
RW7   010668   RW70106   1   12/23/202   00510020     446.29     412.15     412.15                                                0.00   27.58                                                   27.58    358.54              87.75
                 68              1
RW7   010801   RW70108   1   12/23/202   00510031    1,636.67   1,380.65   1,380.65                                               0.00   68.67                                                   68.67   1,236.06            400.61
                 01              1
RW7   010567   RW70105   1   12/23/202   00510007    1,118.02    845.78     845.78                                                0.00   60.25                                           7.00    67.25    873.63             142.89
                 67              1
RW7   001203   RW70012   1   12/23/202   00510036    1,914.13   1,183.04                         33.04    500.00    650.00        0.00   55.17                                          16.00    71.17    772.38             741.75
                 03              1
RW7   000297   RW70002   1   12/23/202   00510032     262.77     241.54      41.54                        200.00                  0.00   13.83                                                   13.83    262.77
                 97              1
RW7   010776   RW70107   1   12/23/202   00510014    1,255.33    511.59     511.59                                                0.00   62.50                                                   62.50   1,062.50            192.83
                 76              1
RW7   010090   RW70100   1   12/23/202   00510001    1,672.00   1,248.13   1,248.13                                               0.00   80.00                                                   80.00   1,672.00
                 90              1
RW7   010770   RW70107   1   12/23/202   00510012    2,128.25   1,592.22   1,592.22                                               0.00   67.58                                           4.00    71.58   1,959.82             52.43
                 70              1
RW7   010769   RW70107   1   12/23/202   00510037    3,461.54   2,469.59   2,469.59                                               0.00                                                                   3,461.54
                 69              1
RW7   020003   RW70200   1   12/23/202   05340706     197.30     182.21                                                        182.21                                                                                        197.30
                 03              1
RW7   010704   RW70107   1   12/23/202   00510015     300.41     258.97     258.97                                                0.00   16.50                                                   16.50    264.00              36.41
                 04              1
RW7   020100   RW70201   1   12/23/202   00510013     683.76     590.32     590.32                                                0.00   66.33                                                   66.33   1,193.94            119.82
                 00              1
RW7   010792   RW70107   1   12/23/202   00510008     585.64     530.53     530.53                                                0.00   30.83                                                   30.83    554.94              30.70
                 92              1
RW7   010757   RW70107   1   12/23/202   00510041    1,271.80    876.49     876.49                                                0.00   53.50                                                   53.50   1,070.00            201.80
                 57              1
RW7   010787   RW70107   1   12/23/202   00510038    5,827.28   3,009.18   3,009.18                                               0.00   80.00                                                   80.00   3,846.15
                 87              1
RW7   010062   RW70100   1   12/23/202   00510046    2,931.13   1,960.12   1,960.12                                               0.00   79.50                                                   79.50   1,431.00            900.13     600.00
                 62              1
RW7   002904   RW70029   1   12/23/202   00510016    7,438.75   4,483.19                                 4,483.19                 0.00   80.00                                                   80.00   2,884.62                      3,550.96
                 04              1
RW7   000204   RW70002   1   12/23/202   00510042     295.95     268.96     268.96                                                0.00   10.08                                                   10.08    295.95
                 04              1
RW7   010686   RW70106   1   12/23/202   00510044    3,730.77   2,512.80              1,512.80           1,000.00                 0.00   80.00                                                   80.00   3,730.77
                 86              1
RW7   010744   RW70107   1   12/23/202   00510021    1,453.53   1,190.95   1,190.95                                               0.00   67.33                                                   67.33   1,211.94            241.59
                 44              1
RW7   001029   RW70010   1   12/23/202   00510028     930.92     618.11     618.11                                                0.00   57.17   1.08                                            58.25    800.38    22.68    274.59
                 29              1
RW7   000313   RW70003   1   12/23/202   00510002    3,565.65   2,431.82   2,431.82                                               0.00   80.00                                                   80.00   3,565.65
                 13              1
RW7   001299   RW70012   1   12/23/202   00510034    2,587.13   1,454.75   1,454.75                                               0.00   73.42   0.17                                            73.59   1,027.88    3.57   1,555.68
                 99              1
RW7   010651   RW70106   1   12/23/202   00510022    1,096.21    828.62     828.62                                                0.00   54.75                         14.00                     68.75    766.50             133.71
                 51              1
RW7   010650   RW70106   1   12/23/202   25070233     849.06     669.71                                                        669.71    51.83                                                   51.83    725.62             123.44
                 50              1
RW7   010560   RW70105   1   12/23/202   00510009    1,077.69    800.13     800.13                                                0.00   61.92                                                   61.92    897.84             179.85
                 60              1
RW7   001759   RW70017   1   12/23/202   65266362   18,802.10 11,557.20                                                      11,557.20   70.00   4.00   7.00   22.50           137.50           241.00                      2,802.10
                 59              1
RW7   010075   RW70100   1   12/23/202   00510047    3,996.56   2,685.10   2,685.10                                               0.00   80.00                                                   80.00   3,212.08                       784.48
                 75              1
RW7   002731   RW70027   1   12/23/202   00510017    1,693.36   1,294.76   1,294.76                                               0.00   76.25   0.17                                            76.42   1,525.00    5.10    163.26
                 31              1
RW7   010784   RW70107   1   12/23/202   00510018     507.28     459.92     459.92                                                0.00   30.00                                                   30.00    420.00              87.28
                 84              1
RW7   010648   RW70106   1   12/30/202   00520001    1,977.80       0.00                                                          0.00
                 48              1
RW7   020003   RW70200   1   12/30/202   05342129     543.40     495.76                                                        495.76    27.17                                                   27.17    543.40
                 03              1
RW7   010744   RW70107   1   12/30/202   00520002     507.40        0.00                                                          0.00
                 44              1
RW7   010651   RW70106   1   12/30/202   00520003     518.29        0.00                                                          0.00
                 51              1


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RW7   010650   RW70106   1   12/30/202 00520004    503.02    0.00                0.00
                 50              1
RW7   001759   RW70017   1   12/30/202 00520005   1,476.00   0.00                0.00
                 59              1
RW7   010075   RW70100   1   12/30/202 00520006    410.47    0.00                0.00
                 75              1




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          ADDITION                                                               FAMILY                       VOLUNTA VOLUNTA                VOLUNTA VOLUNTA VOLUNTA VOLUNTA                    VOLUNTA
ADDITION                                          SOCIAL                                            VOLUNTA                       VOLUNTA                                             VOLUNTA                 TOTAL
                AL            FEDERAL MEDICAR                        WORKED       LEAVE                              RY       RY                    RY        RY         RY       RY                   RY                                  MEMO : MEMO : X-
       AL             TOTAL                      SECURIT SUI/SDI -                          TOTAL         RY                             RY                                                 RY             VOLUNTA
          EARNING             INCOME -      E-                      IN STATE - INSURAN                         DEDUCTI DEDUCTI                DEDUCTI DEDUCTI DEDUCTI DEDUCTI                    DEDUCTI             MEMO : G- MEMO : H-    KA-ER    MAX         TOTAL
EARNING             EARNING                           Y - EMPLOYE                         EMPLOYE DEDUCTI                          DEDUCTI                                             DEDUCTI                   RY
             S : V-           EMPLOYE EMPLOYE                       EMPLOYE          CE -                       ON : FS- ON : HI-              ON : L1- ON : LIF- ON : MED- ON : NJI-            ON : VIS-               GTL HRS*WRK         401K ELIG/CO       MEMOS
  S : SK-                   S                   EMPLOYE      E TAX                           E TAX ON : DNT-                        ON : K1-                                            ON : P-             DEDUCTI
          VACATIO                E TAX   E TAX                          E TAX EMPLOYE                               FSA  HAWAII                  401K     SUPP.        S125  NJ VOL                  S125                                  MATCH       MP
    SICK                                           E TAX                                             DENTAL                         EE 401K                                           PARKING                   ONS
                 N                                                                 E TAX                      MEDICAL MED INS                  LOAN 1 LIFE INS. MEDICAL PLAN DI                   VISION
                     2,492.40    246.72   34.13    145.91     27.89      65.44               520.09      3.09                        398.78                         164.32                            0.46    566.65    28.82     67.00              2,492.40   2,588.22

                      1,422.02   105.06     20.62     88.16       7.11     90.11              311.06                                                                                                                              66.08              1,422.02   1,488.10

                      3,653.85   503.04     51.03    218.22                                   772.29      3.09                        328.85                         139.68                          0.46    472.08      8.94     88.00              3,653.85   3,750.79

                      1,349.87    68.45     19.58     83.69      16.20     11.22              199.14                                   67.49                                                                  67.49               66.17      33.75   1,349.87   1,449.79

                      1,526.00    97.39     19.69     84.21      16.30     30.28              247.87      3.09                                                       164.32                          0.46    167.87               76.50              1,526.00   1,602.50

                      2,755.02   263.07     37.51    160.40                33.63              494.61      3.09                                                       164.32                          0.46    167.87               79.00              2,255.02   2,334.02

                       515.27     33.26      7.47     31.95                                    72.68                                                                                                                              33.25               515.27     548.52

                      1,274.86     4.13     15.52     66.36                                    86.01      6.00                         63.74                         197.56                          0.87    268.17               68.50      31.87   1,274.86   1,375.23

                      1,815.85    75.28     24.91    106.53                                   206.72      3.09                                                        94.08                          0.46     97.63               77.25              1,815.85   1,893.10

                      2,145.66    94.09     28.65    122.47      23.70     17.33              286.24      6.00                        429.13                         164.32                                  599.45               82.92              2,145.66   2,228.58

                       424.95                6.16     26.34       5.10                         37.60                                                                                                                              28.33               424.95     453.28

                      3,653.85   307.31     53.01    226.66       1.20    191.70     18.67    798.55                                                                                                                     2.08     88.00              3,653.85   3,743.93

                      4,423.08   402.14     62.13    265.63      51.36    282.52             1,063.78     3.09                                                       139.68                          0.46    143.23      4.50     88.00              4,423.08   4,515.58

                      2,692.31   127.96     36.77    157.25                                   321.98      3.09                       1,076.92                        164.32                          0.46   1,244.79    11.72     88.00              2,692.31   2,792.03

             100.00   1,959.37    38.00     25.69    109.85                69.62              243.16      3.09                                                        94.08               90.00      0.46    187.63      0.10     76.92              1,959.37   2,036.39

                       777.00     37.85     11.21     47.95                                    97.01      3.09                         77.70                                                         0.46     81.25               37.00               777.00     814.00

                      1,313.43    92.03     19.04     81.43      15.77     28.31              236.58                                                                                                                              74.33              1,313.43   1,387.76

                      1,196.48     2.84     11.87     50.75       9.83      0.11               75.40      6.00                        155.54                         371.07                          0.87    533.48               67.83              1,196.48   1,264.31

                      1,630.16   118.32     22.22     95.01       1.20     65.44      8.33    310.52      3.09                                                        94.08                          0.46     97.63               69.25              1,630.16   1,699.41

                      4,142.15   516.79     55.53    237.42                                   809.74      7.20                        414.22    171.61      11.22    310.17                          0.92    915.34      5.36     70.83              4,142.15   4,218.34

                       665.84                9.65     41.28                                    50.93                                                                                                                              41.83               665.84     707.67

                      1,314.00    92.09     19.05     81.47                                   192.61                                                                                                                              73.00              1,314.00   1,387.00

                      1,180.03   103.99     15.70     67.11                                   186.80      3.09                                                        94.08                          0.46     97.63               67.00              1,180.03   1,247.03

             200.00   2,254.97   212.60     30.36    129.84                92.15              464.95      3.09                        225.50                         164.32                          0.46    393.37      7.20     71.08              2,254.97   2,333.25

                      1,472.22              21.34     91.27      17.66      6.15              136.42                                  736.11                                                                 736.11               69.75              1,472.22   1,541.97

                      1,672.00   141.18     22.82     97.61                35.36      4.68    301.65      3.09                         16.72                          94.08      7.86                0.46    122.21               80.00       8.36   1,672.00   1,760.36

                      2,187.22   190.00     30.30    129.56       1.20     96.40     11.18    458.64      3.09                                                        94.08                          0.46     97.63      0.12     71.33              2,187.22   2,258.67

                      3,461.54   470.35     48.80    208.67               166.51              894.33      3.09                                                        94.08                          0.46     97.63      1.66      8.00              3,461.54   3,471.20

                       824.83     34.22     11.96     51.14       1.20     23.41      4.21    126.14                                                                                                                              35.00               824.83     859.83

                      1,364.94    98.21     19.79     84.63       1.20     55.44      6.97    266.24                                                                                                                              75.83              1,364.94   1,440.77

                       726.20     24.35     10.53     45.03                                    79.91                                                                                                                              34.17               726.20     760.37

                      2,494.01   132.32     31.84    136.12      26.35     45.43              372.06     10.11                                                       286.93                          1.35    298.39               81.17              2,494.01   2,575.18

                      3,846.15   390.78     55.85    238.79                                   685.42                                                                                                                     5.30     88.00              3,846.15   3,939.45

                      3,985.26   449.78     53.75    229.81                92.77              826.11      7.20    105.77              270.82                         164.72                          0.92    549.43               88.00              3,385.26   3,473.26

                      2,884.62   119.82     37.60    160.74      31.05     39.17              388.38     10.11                                                       286.93                                  297.04      4.94     88.00              2,884.62   2,977.56

                       614.21     13.15      9.06     38.73       7.37      0.60               68.91                                                                                                                    10.46     20.92               614.21     645.59

                      3,730.77   615.52     53.31    227.98      11.02    254.18             1,162.01                        55.96                                                                            55.96      2.16     88.00              3,730.77   3,820.93

                      1,722.82   181.29     24.93    106.60                                   312.82      3.09                                                                                       0.46       3.55              73.33              1,722.82   1,796.15

                      2,372.24   288.01     32.46    138.79      26.46     89.19              574.91      3.09                                                       164.32                          0.46    167.87     34.32     69.75              2,372.24   2,476.31

                      3,565.65   566.02     50.41    215.55               160.37      9.99   1,002.34     3.09                                              17.12     94.08     16.76                0.46    131.51      8.54     88.00              3,565.65   3,662.19



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                   1,958.30   265.46   26.53   113.44     21.48     68.59            495.50     3.09                    195.83                       164.32          0.46    363.70     39.22   74.25            1,958.30   2,071.77

                   1,345.53   123.91   18.10    77.40                                219.41     3.09                                                  94.08                   97.17             74.08            1,345.53   1,419.61

         513.92    1,768.44   144.51   25.65   109.64     21.23     53.89            354.92                              17.68                                                17.68             72.61     8.84   1,768.44   1,849.89

                   1,148.83    56.47   16.66    71.23                                144.36                             114.88                                               114.88             54.75    57.44   1,148.83   1,261.02

 43.50             1,166.22    35.02   16.82    71.90                                123.74     6.00                    174.93                                       0.46    181.39             65.08            1,166.22   1,231.30

                    246.30      9.44    3.57    15.27                5.77             34.05                                                                                                     16.42             246.30     262.72

                   5,486.00   425.23   81.85   350.00     65.83    212.07           1,134.98                            274.30                                               274.30    159.26   73.83            5,486.00   5,719.09

                   3,212.08   255.15   44.29   189.39              139.40            628.23     3.09                    321.21                       164.32          0.46    489.08     10.36   88.00            3,212.08   3,310.44

         160.00    1,813.50   164.20   25.36   108.47     20.99     48.57            367.59     3.09                                                  60.41          0.46     63.96             80.75            1,813.50   1,894.25

                    454.74              6.59    28.19       5.45                      40.23                                                                                                     22.92             454.74     477.66

                                                         -197.30            -2.86     -12.23                                       -15.09

                                                         197.30              2.86     12.23                                        15.09

                                                         -543.40    -6.07   -7.88     -33.69                                       -47.64

                                                         543.40      6.07    7.88     33.69                                        47.64

         -290.92                                        3,923.00   502.65   54.87    234.60    41.31   174.21                    1,007.64                     3.09           627.68                     164.32

                                                        1,080.00    61.93   15.66     66.96     5.40    64.01                     213.96

                                                        3,653.85   494.60   51.03    218.21                                       763.84                      3.09           328.85                     139.68

                                                        1,995.00   139.91   29.00    123.98    21.95    44.34                     359.18                                      99.75

                                                        1,159.38    51.31   14.38     61.47    10.91    13.80                     151.87                      3.09                                      164.32

                              300.00                    1,974.07   129.23   26.19    111.98             23.48                     290.88                      3.09                                      164.32

                                                         659.80     46.17    9.57     40.91                                        96.65

                                                        1,317.06     5.06   16.13     68.98                                        90.17                      6.00            65.85                     197.56

                    157.50                              1,790.80    69.70   24.55    104.98                                       199.23                      3.09                                       94.08

                                                        2,584.16   131.99   35.00    149.66    26.55    24.58                     367.78                      6.00           516.83                     164.32

                                                         312.45              4.53     19.37     3.44                               27.34

                                                        3,653.85   303.12   53.01    226.67     1.20   188.63   18.67             791.30

                                                        4,423.08   385.26   62.12    265.63    47.08   275.72                    1,035.81                     3.09                                      139.68

                                                        2,692.31   125.88   36.77    157.24                                       319.89    152.20            3.09          1,076.92                    164.32

                                                        1,452.37            18.34     78.42             44.14                     140.90                      3.09                                       94.08                90.00

                                               294.00    696.57     29.07   10.05     42.97                                        82.09                      3.09            69.66

                                                        2,192.24   204.14   31.79    135.92    24.11    83.51                     479.47

                                       45.00            1,168.38            11.46     49.01     8.69                               69.16                      6.00           151.89                     371.07

                                                        1,707.82   125.55   23.35     99.83     1.20    69.35    8.73             328.01                      3.09                                       94.08

                                                         825.88     32.78   11.98     51.20     9.08     1.59                     106.63

                                                         161.03              2.33       9.98                                       12.31

                                                        1,962.08   167.78   28.45    121.65                                       317.88

                               50.75                    1,251.18   110.45   16.73     71.52                                       198.70                      3.09                                       94.08

                                               300.00   1,521.98   116.25   19.84     84.81             59.49                     280.39                      3.09           152.20                     164.32

                                                        1,294.72            18.77     80.27    14.24     5.09                     118.37                                     647.36

                                                        1,672.00   139.09   22.83     97.61             35.36    2.34     7.11    304.34               4.18   3.09            16.72                      94.08       2.34

                                                        2,665.52   286.78   37.24    159.22     1.20   123.13   13.62             621.19                      3.09                                       94.08

                                                        3,461.54   461.90   48.80    208.67            166.51                     885.88                      3.09                                       94.08

                                                         128.40              1.86       7.96                                         9.82




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                                                       1,717.84     138.47     24.91   106.51                                     269.89

                                                         851.05      74.15     12.34    52.77    9.36    10.71                    159.33

                                                       1,528.03     115.69     22.16    94.74    1.20    64.54   7.81             306.14

                                                         742.98      24.49     10.77    46.06                                      81.32

                                                       1,962.96      66.84     24.14   103.20   18.31    24.68                    237.17                    10.11                            286.93

                                                       3,846.15     378.82     55.85   238.79                                     673.46

                                                       4,125.03     492.90     57.31   245.04            99.10                    894.35                     7.20           282.00           164.72

                                                       2,884.62     115.63     37.66   161.02   28.46    35.91                    378.68                    10.11                            286.93

                                                       2,797.08     223.30     40.57   173.48                                     437.35

                                                         783.03      28.50     11.51    49.20    8.61     3.75                    101.57

                                                       3,730.77     604.71     53.32   227.97   12.00   254.18                   1,152.18                           55.96

                                                         869.18      75.90     12.55    53.67                                     142.12     38.81           3.09

          -166.73                                      1,211.62      97.27     15.63    66.84   11.48    15.15                    206.37                     3.09                            164.32

                                                         262.50      31.50      4.31    18.40    2.89    11.55                     68.65

                                                       3,565.65     557.58     50.41   215.55           160.37   4.99    15.15   1,004.05            8.91    3.09                    17.12    94.08   4.99

                             375.00   42.00            2,704.37     430.08     39.78   170.10   29.75   129.78                    799.49                                    270.44

                                                       1,987.95     210.58     27.42   117.23                                     355.23     39.65           3.09                             94.08

                                                       1,088.55      47.97     15.78    67.49                                     131.24     38.48                          108.86

                              50.75                    1,137.52      29.51     16.40    70.13                                     116.04                     6.00           170.63

                                                       4,152.50     238.81     62.52   267.33   45.68    87.95                    702.29     50.85                          207.63

                                                       3,212.08     250.95     44.29   189.38           139.40                    624.02     32.72           3.09           321.21           164.32

                                              150.00   1,900.64     172.58     26.63   113.87   20.20    51.40                    384.68                     3.09                             60.41

                                                         664.01      16.60      9.63    41.17    7.30                              74.70

                                                         336.16                 4.88    20.84                                      25.72

                                                         138.36                 2.00     8.58    1.66                              12.24

                                                         142.50                 2.27     9.74                                      12.01

                                                       -1,394.52    -101.76   -20.22   -86.46   -1.20   -57.20   -7.13            -273.97

                                                        -824.83      -34.22   -11.96   -51.14   -1.20   -23.41   -4.21            -126.14

                                                       1,394.52     101.76     20.22    86.46    1.20    57.20   7.13             273.97

                                                         824.83      34.22     11.96    51.14    1.20    23.41   4.21             126.14

                                                        -630.00      -14.73    -9.14   -39.06   -1.20   -13.91   -3.22             -81.26

          -290.92                                      1,732.26     148.57     23.10    98.78   18.78    27.16                    316.39                     3.09           277.16           164.32

                                                       1,257.52      85.32     18.24    77.97    6.29    77.50                    265.32

 328.14                                                7,518.15    1,363.69   107.07   457.80                                    1,928.56   328.14           3.09           328.85           139.68

                                                       2,034.76     146.53     29.57   126.45   24.41    50.20                    377.16                                    101.74

                                                       1,597.48     105.97     20.73    88.63   17.15    33.42                    265.90                     3.09                            164.32

                                                       3,001.95     317.40     41.09   175.71            36.84                    571.04                     3.09                            164.32

                                                         497.78      31.51      7.22    30.86                                      69.59

 502.02             105.00                             1,770.46        3.52    22.71    97.10                                     123.33    502.02           6.00            63.42           197.56

                                                         360.41      36.04      5.23    22.35                                      63.62

                    157.50                             1,364.58      30.16     18.37    78.55                                     127.08                     3.09                             94.08

                             200.00                    2,008.92      80.96     26.66   113.99   22.06    14.92                    258.59                     6.00           401.78           164.32

                                                         458.79                 6.66    28.45    5.51                              40.62



Due to the large number of columns in this spreadsheet, it is printed to two parts.
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 960.10                                                        7,339.61    864.06    106.46    455.19      1.20    396.24    32.26   1,855.41    960.10

                                                               6,786.68    922.13     96.39    412.17     79.72    524.32            2,034.73               3.09                                                139.68

                                                               4,135.89    402.71     57.71    246.74                                 707.16                3.09                    1,076.92                    164.32

                                                     400.00    2,191.26     76.63     30.36    129.82               85.55             322.36                3.09                                                 94.08

                                105.00               210.00    1,090.32     71.59     15.76     67.38                                 154.73                3.09                     109.03

                                                               1,481.95    112.25     21.49     91.88     17.78     36.15             279.55

                                                               1,346.11     15.86     14.04     60.03     11.61       1.54            103.08                6.00                     174.99                     371.07

                                126.00                         1,568.67    110.94     21.33     91.21      1.20     61.77     8.02    294.47                3.09                                                 94.08

                       25.00                         275.00    3,903.21    469.48     52.06    222.59                                 744.13                7.20                     390.32    171.61   11.22   310.17

                                                                446.29                 6.47     27.67                                  34.14

                                                               1,636.67    130.81     23.73    101.48                                 256.02

                                                     101.50    1,118.02     96.55     14.80     63.26                                 174.61                3.09                                                 94.08

                                                     400.00    1,914.13    160.69     25.43    108.72               76.97             371.81                3.09                     191.41                     164.32

                                                                262.77                 4.03     17.20                                  21.23

                                                               1,255.33               18.21     77.83     15.07       4.96            116.07                                         627.67

                                                               1,672.00    141.18     22.83     97.61               35.36     4.68    301.66                3.09                      16.72                      94.08    7.86

                                                     116.00    2,128.25    178.09     29.45    125.90      1.20     92.88    10.88    438.40                3.09                                                 94.08

                                                               3,461.54    470.35     48.80    208.66              166.51             894.32                3.09                                                 94.08

                                                                197.30                 2.86     12.23                                  15.09

                                                                300.41      14.85      4.36     18.62      3.61                        41.44

           -630.00                                              683.76      20.11      9.92     42.39      1.20     16.33     3.49     93.44

                                                                585.64      10.30      8.50     36.31                                  55.11

                                                               1,271.80       0.80    14.11     60.36     11.68       9.97             96.92               10.11                                                286.93

1,981.13                                                       5,827.28    390.78     84.57    361.62                                 836.97    1,981.13

                                                               2,931.13    236.43     38.46    164.46               66.58             505.93                7.20   105.75            186.49                     164.72

1,003.17                                                       7,438.75    701.90    103.62    443.09     73.66    333.08            1,655.35   1,003.17   10.11                                                286.93

                                                                295.95                 4.44     19.00      3.55                        26.99

                                                               3,730.77    615.52     53.32    227.97     11.02    254.18            1,162.01                               55.96

                                                               1,453.53    148.10     21.03     89.90                                 259.03                3.09

           -166.73                                              930.92      65.67     11.56     49.44      9.15       9.12            144.94                3.09                                                164.32

                                                               3,565.65    566.02     50.41    215.54              160.37     9.98   1,002.32               3.09                                        17.12    94.08   16.76

                                                               2,587.13    378.37     35.64    152.43     29.03    110.33             705.80                3.09                     258.71                     164.32

                                196.00                         1,096.21     93.99     14.49     61.94                                 170.42                3.09                                                 94.08

                                                                849.06      29.49     12.31     52.64                                  94.44                                          84.91

                                                               1,077.69     27.50     15.53     66.42                                 109.45                6.00                     161.65

                     2,250.00            13,750.00            18,802.10   3,946.28   274.94   1,175.61   119.93   1,588.03           7,104.79                                        140.11

                                                               3,996.56    349.28     55.67    238.02              179.41             822.38                3.09                     321.21                     164.32

                                                               1,693.36    149.79     23.63    101.03     19.55     40.64             334.64                3.09                                                 60.41

                                                                507.28        2.46     7.36     31.45      6.09                        47.36

1,977.80                                                       1,977.80               28.85    123.35                                 152.20    1,825.60

                                                                543.40        6.07     7.88     33.69                                  47.64

 507.40                                                         507.40                 7.35     31.46                                  38.81     468.59

 518.29                                                         518.29                 7.52     32.13                                  39.65     478.64



Due to the large number of columns in this spreadsheet, it is printed to two parts.
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 503.02               503.02     7.29   31.19                   38.48    464.54

1,476.00             1,476.00   23.71   27.14                   50.85   1,425.15

 410.47               410.47     6.10   26.09       0.53        32.72    377.75




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                                 Exhibit 3
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Escada America LLC
Utility Providers
As of 1/7/22

Utility Provider Name                  Type of Utility                      Account No.                                                   Location ServedSecurity DepositPrevious Bill (M Previous Bill (M Previous Bill (M Average Bill - Proposed Deposit
             693 Fifth Owner LLC          Energy/Water/Heat/waste disposal                    Within the Rent Invoice                      NY Showroom                    $      524.71 $         774.18 $         807.84 $                              702.24
   CENTRAL HUDSON GAS & ELECTRIC          Energy/Water/Heat/waste disposal                        2100-4016-33-9                             Woodbury                     $      124.14 $         204.94 $          51.96 $                              127.01
        CITY OF WEST PALM BEACH           Energy/Water/Heat/waste disposal         4808332610-0, 8267475101-1 , 1663347383-7                Palm Beach                    $      230.83 $         513.10 $         727.60 $                              490.51
         COMMONWEALTH EDISON              Energy/Water/Heat/waste disposal                          6989094024                                 Chicago                    $    1,519.76 $       1,053.40 $         700.05 $                            1,091.07
          FLORIDA POWER & LIGHT           Energy/Water/Heat/waste disposal                          21031-90324                             Palm Beach                    $      955.33 $       1,040.15 $       1,194.36 $                            1,063.28
          FLORIDA POWER & LIGHT           Energy/Water/Heat/waste disposal                          31715-89348                               Sawgrass                    $      582.75 $         704.39 $         751.34 $                              679.49
        Las Vegas North Outlets, LLC      Energy/Water/Heat/waste disposal                    Within the Rent Invoice                        Las Vegas                    $      611.30 $         611.30 $         611.30 $                              611.30
              Mesa Water District         Energy/Water/Heat/waste disposal                       06811700-118931                            Costa Mesa                                                                       $                              -
                  NVEnergy                Energy/Water/Heat/waste disposal                          3.00034E+18                              Las Vegas                    $      258.24 $         303.65 $         351.30 $                              304.40
            ORANGE & ROCKLAND             Energy/Water/Heat/waste disposal                          1896106050                               Woodbury                     $      593.79 $         601.62 $         921.36 $                              705.59
        Premium Outlet Partners LP        Energy/Water/Heat/waste disposal                    Within the Rent Invoice                         Cabazon                     $      474.09 $         474.09 $         474.09 $                              474.09
      SAWGRASS MILLS PHASE IV LLC         Energy/Water/Heat/waste disposal                    Within the Rent Invoice                         Sawgrass                    $      496.63 $         496.63 $         496.63 $                              496.63
       Scottsdale Fashion Square LLC      Energy/Water/Heat/waste disposal                    Within the Rent Invoice                        Scottsdale                   $    1,112.00 $       1,112.00 $       1,112.00 $                            1,112.00
                  SoCalGas                Energy/Water/Heat/waste disposal                         052 423 8629 9                             Cabazon                     $       16.27 $          14.79 $          16.27 $                               15.78
             SOUTH COAST PLAZA            Energy/Water/Heat/waste disposal                    Within the Rent Invoice                       Costa Mesa     Terminated     $      446.02 $         870.40 $         336.90 $                              551.11
      SOUTHERN CALIFORNIA EDISON          Energy/Water/Heat/waste disposal                          7.00149E+11                             Beverly Hills                 $    3,671.67 $       3,752.46 $       5,360.19 $                            4,261.44
      SOUTHERN CALIFORNIA EDISON          Energy/Water/Heat/waste disposal                          7.00147E+11                             Costa Mesa                    $      507.84 $         820.11 $         629.44 $                              652.46
            WASTE MANAGEMENT              Energy/Water/Heat/waste disposal                        10-84033-53003                               Chicago                    $    1,216.05 $       1,198.05 $       1,197.36 $                            1,203.82
  Woodbury Common Premium Outlets         Energy/Water/Heat/waste disposal                    Within the Rent Invoice                        Woodbury                     $      507.04 $         507.04 $         507.04 $                              507.04
                     AT&T                     Telephone & Internet cost                              307910254                              Beverly Hills                 $      139.10 $         139.10 $         139.10 $                              139.10
                     AT&T                     Telephone & Internet cost                          831-000-8213 237                           Costa Mesa                    $      476.92 $         476.92 $         476.92 $                              476.92
               Comcast Business               Telephone & Internet cost                        8771 30 012 3700316                             Chicago                    $      125.01 $         125.01 $         125.01 $                              125.01
               Comcast Business               Telephone & Internet cost                        8535 11 460 0140483                          Palm Beach                    $      122.52 $         121.40 $         121.40 $                              121.77
          Frontier Communications             Telephone & Internet cost                       845-928-1619-021021-7                          Woodbury                     $      119.31 $         457.01 $         247.56 $                              274.63
        Granite Telecommunications            Telephone & Internet cost                               4063906                                 Cabazon                     $      422.92 $         422.92 $         422.92 $                              422.92
        Granite Telecommunications            Telephone & Internet cost                               4063906                                Las Vegas                    $      424.56 $         424.56 $         424.56 $                              424.56
        Granite Telecommunications            Telephone & Internet cost                               4063906                                 Sawgrass                    $      386.53 $         386.53 $         386.53 $                              386.53
        Granite Telecommunications            Telephone & Internet cost                               4063906                                Scottsdale                   $      385.38 $         385.38 $         385.38 $                              385.38
          Jive Communications, Inc            Telephone & Internet cost                           CN-734028-1903                        Accounting Office                                                                    $                         1,411.06
          Jive Communications, Inc            Telephone & Internet cost                           CN-734028-1903                            Beverly Hills
          Jive Communications, Inc            Telephone & Internet cost                           CN-734028-1903                                 Buy
          Jive Communications, Inc            Telephone & Internet cost                           CN-734028-1903                              Cabazon
          Jive Communications, Inc            Telephone & Internet cost                           CN-734028-1903                               Chicago
          Jive Communications, Inc            Telephone & Internet cost                           CN-734028-1903                            Costa Mesa
          Jive Communications, Inc            Telephone & Internet cost                           CN-734028-1903                        Human Resources
          Jive Communications, Inc            Telephone & Internet cost                           CN-734028-1903                       ormation Technology
          Jive Communications, Inc            Telephone & Internet cost                           CN-734028-1903                             Las Vegas
          Jive Communications, Inc            Telephone & Internet cost                           CN-734028-1903                           NY showroom
          Jive Communications, Inc            Telephone & Internet cost                           CN-734028-1903                        Office Operations
          Jive Communications, Inc            Telephone & Internet cost                           CN-734028-1903                            Palm Beach
          Jive Communications, Inc            Telephone & Internet cost                           CN-734028-1903                        Retail Operations
          Jive Communications, Inc            Telephone & Internet cost                           CN-734028-1903                              Sawgrass
          Jive Communications, Inc            Telephone & Internet cost                           CN-734028-1903                             Scottsdale
          Jive Communications, Inc            Telephone & Internet cost                           CN-734028-1903                          Wholesale Sales
          Jive Communications, Inc            Telephone & Internet cost                           CN-734028-1903                             Woodbury                     $    1,411.12 $       1,411.03 $       1,411.03
                 OPTUS INC                    Telephone & Internet cost    oc IT support services - mostly due to relocations or store cl      Chicago                                                      $      786.45 $                              786.45
                  Spectrum                    Telephone & Internet cost                        8150 20 007 1864646                         NY showroom                    $      114.98 $         114.98 $         114.98 $                              114.98
                  VERIZON                     Telephone & Internet cost                        555-771-651-0001-89                        Warehouse (NJ)                  $      145.64 $         145.64 $         145.64 $                              145.64
Spectrum                               Telephone & Internet cost                                                                          NY showroom
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                                 Exhibit 4
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  1   JOHN-PATRICK M. FRITZ (State Bar No. 245240)
      LEVENE, NEALE, BENDER,
  2   YOO & GOLUBCHIK L.L.P.
  3   2818 La Cienega Avenue
      Los Angeles, California 90034
  4   Telephone: (310) 229-1234
      Facsimile: (310) 229-1244
  5   Email: JPF@LNBYG.COM
  6   Proposed Attorneys for Chapter 11 Debtor
  7   and Debtor in Possession

  8                          UNITED STATES BANKRUPTCY COURT
                              CENTRAL DISTRICT OF CALIFORNIA
  9                                LOS ANGELES DIVISION
10
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11
11    In re                                      )   Case No. 2:22-bk-10266-BB
                                                 )
12
12    ESCADA AMERICA LLC,                        )   Chapter 11
                                                     Subchapter V
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13
13            Debtor and Debtor in Possession.   )
                                                     NOTICE OF ORDER LIMITING
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14                                                   SCOPE OF NOTICE AND
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                                                     OPPORTUNITY TO REQUEST
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15                                               )
                                                     SPECIAL NOTICE
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16                                               )
                                                     Hearing:
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17                                                   DATE:    __, 2022
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  1          TO ALL CREDITORS AND PARTIES IN INTEREST:
  2          PLEASE TAKE NOTICE that the Court has entered an Order Granting Debtor’s
  3   Emergency Motion For Entry Of An Order Limiting Notice And Related Relief (the “Order”),
      sought by Escada America LLC, the debtor and debtor in possession in the above-captioned
  4   bankruptcy case (the “Debtor”), which establishes the scope of notice to be given in connection
      with certain pleadings and proceedings in the Debtor’s bankruptcy case.
  5
           PURSUANT TO THE ORDER, IN THIS CASE ALL CREDITORS AND
  6   PARTIES IN INTEREST WILL RECEIVE THIS NOTICE AND NOTICE OF THE
  7   FOLLOWING PROCEEDINGS:

  8          1. Any hearing on the dismissal or conversion of the Debtor’s case;

  9          2. The first meeting of creditors conducted pursuant to Section 341(a) of the Bankruptcy
                Code;
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11           3. The time to file proofs of claim in the Debtor’s case;

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12           4. Certain matters related to a plan of reorganization (and disclosure statement, if
                required), including any modification thereof; and
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             5. Any other matter for which the Court requires that the notice be served on all
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                creditors and/or interest holders.
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15
             PLEASE TAKE FURTHER NOTICE that in order to receive notice of other
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16    proceedings in this case not included in the list above, you will be required to file with the Clerk
      of the Bankruptcy Court and serve upon proposed counsel for the Debtor, at the address on the
17
17    upper left hand corner of this Notice, a written request for special notice in a form consistent
      with the Court’s rules.
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18
      Dated: __, 2022                               ESCADA AMERICA LLC
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                                                    By:    /s/ John-Patrick M. Fritz
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21                                                         JOHN-PATRICK M. FRITZ
                                                           LEVENE, NEALE, BENDER,
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22                                                                 YOO & GOLUBCHIK L.L.P.
                                                           Proposed Attorneys for
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23                                                         Chapter 11 Debtor and
                                                           Debtor in Possession
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                                 Exhibit 5
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  1   JOHN-PATRICK M. FRITZ (State Bar No. 245240)
      LEVENE, NEALE, BENDER,
  2   YOO & GOLUBCHIK L.L.P.
  3   2818 La Cienega Avenue
      Los Angeles, California 90034
  4   Telephone: (310) 229-1234
      Facsimile: (310) 229-1244
  5   Email: JPF@LNBYB.COM
  6   Proposed Attorneys for Chapter 11 Debtor
  7   and Debtor in Possession

  8
                             UNITED STATES BANKRUPTCY COURT
  9                           CENTRAL DISTRICT OF CALIFORNIA
                                   LOS ANGELES DIVISION
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      In re                                      )   Case No. 2:22-bk-10266-BB
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12                                               )
      ESCADA AMERICA LLC,                        )   Chapter 11
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13                                                   Subchapter V
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              Debtor and Debtor in Possession.   )
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                                                 )   NOTICE OF FILING OF [INSERT
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15                                               )   PLEADINGS NAME]
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                                                 )   DATE:     [INSERT HEARING DATE]
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  1          TO ALL CREDITORS AND PARTIES IN INTEREST:
  2          PLEASE TAKE NOTICE that on [INSERT DATE], Escada America LLC the debtor
  3   and debtor in possession in the above-captioned bankruptcy case (the “Debtor”), filed that certain
      [INSERT PLEADING NAME] (the “Motion/Application”). A hearing on the
  4   Motion/Application will take place on [INSERT DATE] at [INSERT TIME] in Courtroom
      [INSERT] of the United States Bankruptcy Court, located at 255 East Temple Street, Los
  5   Angeles, California 90012.
  6          PLEASE TAKE FURTHER NOTICE that an electronic copy of the Motion may be
  7   obtained free of charge, by emailing Debtor’s counsel at JPF@LNBYG.COM and
      JASON@LNBYG.COM. If any party desires a hard copy of the Motion/Application, such hard
  8   copy will be promptly provided upon written request to the Debtor’s counsel whose contact
      information is set forth in the upper-left hand corner of this Notice.
  9
             PLEASE TAKE FURTHER NOTICE that your rights may be affected. You should
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      read the Motion/Application carefully and discuss it with your attorney. If you do not have
11
11    an attorney, you may wish to consult one.

12
12
      Dated: INSERT DATE                                  ESCADA AMERICA LLC
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14
                                                   By:    /s/ John-Patrick M. Fritz
15
15                                                        JOHN-PATRICK M. FRITZ
                                                          LEVENE, NEALE, BENDER,
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16                                                                YOO & GOLUBCHIK L.L.P.
                                                          Proposed Attorneys for
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17                                                        Chapter 11 Debtor and
                                                          Debtor in Possession
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                                 Exhibit 6
                         Case 2:22-bk-10266-BB    Doc 16 Filed 01/18/22 Entered 01/18/22 17:36:22                 Desc
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Landlord/Counterparty                  Address of Landlord                                       Real Property Address
Ala Moana Anchor Acquisition, LLC      PO Box 860375, Minneapolis, MN 55486-0074                 1450 Ala Moana Blvd, Honolulu, HI 96814
                                                                                                 875 South Grand Central Pkwy, Las Vegas, NV
Las Vegas North Outlets, LLC           875 South Grand Central Parkway, #1, Las Vegas, NV 89106 89106
Premium Outlet Partners, L.P.          PO Box 822873, Philadelphia, PA 19182-2873                48650 Seminole Dr, Cabazon, CA 92230
                                       225 W Washington St, c/o M.S. Management Associates Inc.,
Sawgrass Mills Phase IV, L.L.C.        Indianapolis, IN 46204                                    1800 Sawgrass Mills Cir, Sunrise, FL 33323
Woodbury Common Premium Outlets        PO Box 822884, Philadelphia, PA 19182-2884                347 Red Apple Ct, Central Valley, NY 10917
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 1                                 PROOF OF SERVICE OF DOCUMENT
 2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
     address is 2818 La Cienega Avenue, Las Angeles, CA 90034
 3
     A true and correct copy of the foregoing document entitled Master Statement of Facts and Declaration
 4   of Kevin Walsh in Support of Emergency First Day Motion will be served or was served (a) on the
     judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
 5   below:

 6   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
     controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
 7   hyperlink to the document. On January 18, 2022, I checked the CM/ECF docket for this bankruptcy case
     or adversary proceeding and determined that the following persons are on the Electronic Mail Notice List
 8   to receive NEF transmission at the email addresses stated below:

 9                                                                           Service information continued on attached page

10   2. SERVED BY UNITED STATES MAIL: On January 18, 2022, I served the following persons and/or
     entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
11   and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
     addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
     completed no later than 24 hours after the document is filed.
12                                                             Service information continued on attached page
13   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
     EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
14   on January 18, 2022, I served the following persons and/or entities by personal delivery, overnight mail
     service, or (for those who consented in writing to such service method), by facsimile transmission and/or
15   email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
     mail to, the judge will be completed no later than 24 hours after the document is filed.
16
     Via Overnight Mail
17   The Honorable Sheri Bluebond                                             By email to:
     United States Bankruptcy Court                                           - Eden Roc International, LLC
18   Central District of California                                           - Escada Sourcing and Production LLC
     Edward R. Roybal Federal Building and Courthouse                         - Mega International, LLC
19   255 E. Temple Street, Suite 1534 / Courtroom 1539
     Los Angeles, CA 90012
20
                                                                             Service information continued on attached page
21
     I declare under penalty of perjury under the laws of the United States of America that the foregoing is
22   true and correct.

23    January 18, 2022                     Jason Klassi                                 /s/ Jason Klassi
      Date                                   Type Name                                  Signature
24
25
26
27
28

      This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

     June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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 1 2:22-bk-10266 Notice will be electronically mailed to:
 2 John-Patrick M Fritz on behalf of Debtor Escada America, LLC
   jpf@lnbyg.com, JPF.LNBYB@ecf.inforuptcy.com
 3
   United States Trustee (LA)
 4 ustpregion16.la.ecf@usdoj.gov
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      This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

     June 2012                                                                    F 9013-3.1.PROOF.SERVICE
           Case 2:22-bk-10266-BB      Doc 16 Filed 01/18/22 Entered 01/18/22 17:36:22                      Desc
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Escada 9277
20 Largest




717 GFC LLC                             Beverly Hills Wilshire Hotel                 SAMSON MANAGEMENT CORP.
Attn: Mrs.Tsui Yeung                    9500 WILSHIRE BLVD                           Attn.: Kathy Panaro
500 5th Avenue 54th Floor               BEVERLY HILLS, CA 90212                      97-77 QUEENS BLVD, SUITE 710
New York City, NY 10110                                                              REGO PARK, NY 11374

ty@jeffsutton.com                                                                    kpanaro@rosenyc.com
212.573.9001 fax 212.573.9173                                                        (212) 210-6753

Chicago Oak Street Partners, LLC        Alliant Insurance Services, Inc.             SPG HOUSTON HOLDINGS,LP
Attn: Lesley Pembroke                   701 B St 6th Floor                           PO Box 822693
1343 N. Wells Street, Rear Bldg.        San Diego, CA 92101                          PHILADELPHIA, PA 19182-2693
Chicago, IL 60610
                                        Emily.Quinlan@alliant.com                    317.263.3037
pmdcompany1343@gmail.com                415 946 7500
312.944.8200 fax: 312.944.8227

Las Vegas North Outlets, LLC            Ala Moana Anchor Acquisition, LLC            CHETRIT 1412 LLC
Attn: Marie Wood                        Attn: Lisa Gordon                            Attn: Nativ Winiarsky
875 South Grand Central Parkway, #1     PO Box 860375                                PO Box 785000
Las Vegas, NV 89106                     Minneapolis, MN 55486-0074                   PHILADELPHIA, PA 10018

Marie.Wood@simon.com                    Lisa.Gordon@brookfieldpropertiesretail.com   nwiniarsky@kuckermarino.com
317-685-7335                            818.693.1907                                 212.869.5030 fax 212.944.5818

Syzygy Performance GmbH                 Scottsdale Fashion Square LLC                Woodbury Common Premium Outlets
Osterwaldstra e 10                      Attn: Tamara Ortega                          Attn: Marie Wood
Munchen, Germany 80805-0000             PO Box 31001-2156                            PO Box 822884
                                        Pasadena, CA 91110-2156                      Philadelphia, PA 19182-2884
buchhaltung@catbirdseat.de
*+49 898 0991 1800                      Tamara.Ortega@macerich.com                   Marie.Wood@simon.com
                                        602.953.6328                                 317-685-7335

Premium Outlet Partners LP              Bal Harbour Shops LLLP                       METROPOLITAN TELECOMM.
Attn: Leslie C. Traylor                 Attn: Lorena Dehogues                        PO Box 9660
PO Box 822873                           9700 Collins Avenue                          MANCHESTER, NH 03108-9660
Philadelphia, PA 19182-2873             Bal Harbour, FL 33154
                                                                                     customerservice@mettel.net
Leslie.Traylor@simon.com                ld@whitmanfd.com                             866 625 2228
317-263-2315                            305.403.9249

AMERICAN EXPRESS                        Johnson Controls Security Solutions          Simon Property Group LP
PO Box 1270                             Attn: Virgil Guerra                          2696 Solution Center
NEWARK, NJ 07101-1270                   PO Box 371994                                Chicago, IL 60677-2006
                                        Pittsburgh, PA 15250-7994
AmericanExpress@welcome.aexp.com                                                     317-263-7071
800 528 2122                            virgilio.guerra@jci.com
                                        800-289-2647

Cushman and Wakefield                   Funaro & co., P.C.                            Sawgrass Mills Phase IV, L.L.C.
Attn: Kaleb McCullough                  Attn: Joseph M. Catalano
1290 Avenue of the Americas             350 Fifth Avenue, 41st Fl
                                                                                      c/o M.S. Management Associates Inc.,
New York, NY 10104                      New York, NY 10118                            225 W Washington St,
                                                                                      Indianapolis, IN 46204
kaleb.mccullough@cushwake.com           joe.catalano@funaro.com
314-391-6192                            (212) 273-5389 fax: (212) 947-4725
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Utility Companies




CENTRAL HUDSON GAS & ELECTRIC        CITY OF WEST PALM BEACH          COMMONWEALTH EDISON
284 SOUTH AVENUE                     401 Clematis Street              COMED PO BOX 6111
POUGHKEEPSIE, NY 12601-4839          West Palm Beach, FL 33401        CAROL STREAM, IL 60197-6112

845-452-2700 or 800-527-2714         (561) 822-1300                   800-524-0795 or 877 426 6331



COMMONWEALTH EDISON                  FLORIDA POWER & LIGHT            Mesa Water District
COMED PO BOX 6112                    FPL GENERAL MAIL FACILITY        PO BOX 515474
CAROL STREAM, IL 60197-6112          MIAMI, FL 33188-0001             Los Angeles, CA 90051-6774

800-524-0795 or 877 426 6331         800 226 3545                     (949) 631-1200 fax: 949 574 1035
                                                                      customerservice@mesawater.org


Mesa Water District                  NVEnergy                         ORANGE & ROCKLAND
1965 Placentia Avenue                6226 West Sahara Ave             PO BOX 1005
Costa Mesa, CA 92627- 3420           Las Vegas, NV 89146              SPRING VALLEY, NY 10977

(949) 631-1200 fax: 949 574 1035     (800) 331-3103                   877 434 4100
customerservice@mesawater.org


SoCalGas                             SOUTHERN CALIFORNIA EDISON       WASTEMANAGEMENT OF ILLINOIS, INC
PO BOX C                             PO BOX 300                       PO Box 42390
MONTEREY PARK, CA 91756-5111         ROSEMEAD, CA 91772-0001          PHOENIX, AZ 85080

800-427-2000                         800-990-7788 Fax 562 491 2815    (866)570-4702



AT&T                                 AT&T                             Comcast Business
AT&T PO BOX 5014                     AT&T P.O. Box 5019               PO BOX 70219
CAROL STREAM, IL 60197-5014          CAROL STREAM, IL 60197-5014      PHILADELPHIA, PA 19176-0219

800.321.2000                         800 235-7524                     800-391-3000



Comcast Business                     Comcast Business                 Comcast Business
P O BOX 4928                         PO BOX 71211                     141 NW 16TH ST
OAK BROOK , IL 60522-4928            CHARLOTTE, NC 28272-1211         POMPANO BEACH, FL 33060-5250

800-391-3000                         800-391-3000                     800-391-3000



Frontier Communications              Frontier Communications          Granite Telecommunications
P.O. Box 740407                      P.O. Box 709                     100 Newport Ave Ext.
CINCINNATI, OH 45274-0407            South Windsor, CT 06074-9998     Quincy, MA 02171
                                                                      (866) 847-5500
877 213 1556                                                          custserv@granitenet.com
remittance.research@ftr.com


                                     Jive Communications, Inc         OPTUS INC
                                     PO BOX 412252                    3423 One Place
                                     BOSTON, MA 02241 - 2252          Jonesboro, AR 72404

                                     855-848-0764
                                     jive-ar.us@logmein.com


Spectrum                             Spectrum                         VERIZON
PO BOX 742663                        4145 S. FALKENBURG RD            PO BOX 5124
Cincinnati, OH 45274-2663            RIVERVIEW, FL 33578-8652         ALBANY, NY 12212-5124

877-227-8711                                                          800 523 0559
                                                                      ach-wire.requests@one.verizon.com
